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    ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                           Case No. 24-1130
                     Consolidated With No. 24-1113

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


            TIKTOK INC. and BYTEDANCE LTD.
                                       Petitioners,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                     the United States,
                                       Respondent.
                 (continued on inside cover)


  ON PETITION FOR REVIEW OF THE PROTECTING AMERICANS
   FROM FOREIGN ADVERSARY CONTROLLED APPLICATIONS
                      ACT (H.R. 815)


  ADDENDUM TO OPENING BRIEF OF CREATOR PETITIONERS
               VOLUME 1 of 4 (Add. 1–173)

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    BRIAN FIREBAUGH, CHLOE JOY SEXTON, TALIA CADET,
 TIMOTHY MARTIN, KIERA SPANN, PAUL TRAN, CHRISTOPHER
              TOWNSEND, and STEVEN KING,
                                     Petitioners,
                                         v.
                MERRICK B. GARLAND, in his capacity
                  as United States Attorney General,
                                                     Respondent.
                                 ———————


                          BASED Politics Inc.,
                                                Petitioner,
                                    v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                    the United States,
                                               Respondent.


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                     H.R.815



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                                               of thr
                                     mnitrd ~tatrs of 2lmrrirn
                                                 AT THE SECOND SESSION
                                      Begun and held at the City of Washington on Wednesday,
                                       the third day of January, two thousand and twenty-four




                                                                 an an
                               Making emergency supplemental appropriations for the fiscal year ending September
                                                      30, 2024, and for other purposes.

                                   Be it enacted by the Senate and House of Representatives of
                               the United States of America in Congress assembled,
                               SECTION 1. ORGANIZATION OF ACT INTO DMSIONS.
                                   (a) DMSIONS.-This Act is organized into the following divi-
                               sions:
                                        (1) DMSION A.-Israel Security Supplemental Appropria-
                                   tions Act, 2024.
                                        (2) DMSION B.-Ukraine Security Supplemental Appropria-
                                   tions Act, 2024.
                                        (3) DMSION c.-Indo-Pacific Security Supplemental Appro-
                                   priations Act, 2024.
                                        (4) DMSION D.-2lst Century Peace through Strength Act.
                                        (5) DMSION E.-FEND offFentanyl Act.
                                        (6) DMSION F.-Rebuilding Economic Prosperity and
                                   Opportunity for Ukrainians Act.
                                        (7) DMSION G.-Other Matters.
                                        (8) DMSION H.-Protecting Americans from Foreign
                                   Adversary Controlled Applications Act.
                                        (9) DMSION !.-Protecting Americans' Data from Foreign
                                   Adversaries Act of 2024.
                                        (10) DMSION J.-SHIP Act.
                                        (11) DMSION K.-Fight CRIME Act.
                                        (12) DMSION L.-MAHSA Act.
                                        (13) DMSION M.-Hamas and Other Palestinian Terrorist
                                   Groups International Financing Prevention Act.
                                        (14) DMSION N.-No Technology for Terror Act.
                                        (15) DMSION o.-Strengthening Tools to Counter the Use
                                   of Human Shields Act.
                                        (16) DMSION P.-Illicit Captagon Trafficking Suppression
                                   Act.
                                        (17) DMSION Q.-End Financing for Hamas and State
                                   Sponsors of Terrorism Act.
                                        (18) DMSION R.-Holding Iranian Leaders Accountable Act.
                                        (19) DMSION s.-Iran-China Energy Sanctions Act of 2023.
                                        (20) DMSION T.-Budgetary Effects.
                               SEC. 2. REFERENCES.
                                   Except as expressly provided otherwise, any reference to "this
                               Act" contained in any division of this Act shall be treated as
                               referring only to the provisions of that division.




                                                                                                                   Addendum - 1
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                                              H . R. 815--61
                 Fusion Development Strategy programs of the People's Republic
                 of China, including the following:
                          (1) A brief summary of each such identified field and its
                     relevance to the military power and national security of the
                     People's Republic of China.
                          (2) The implications for the national security of the United
                     States as a result of the leadership or dominance by the People's
                     Republic of China in each such identified field and associated
                     supply chains.
                          (3) The identification of at least 10 entities domiciled in,
                     controlled by, or directed by the People's Republic of China
                     (including any subsidiaries of such entity), involved in each
                     such identified field, and an assessment of, with respect to
                     each such entity, the following:
                               (A) Whether the entity has procured components from
                          any known United States suppliers.
                               (B) Whether any United States technology imported
                          by the entity is controlled under United States regulations.
                               (C) Whether United States capital is invested in the
                          entity, either through known direct investment or passive
                          investment flows .
                               (D) Whether the entity has any connection to the Peo-
                          ple's Liberation Army, the Military-Civil Fusion program
                          of the People's Republic of China, or any other state-spon-
                          sored initiatives of the People's Republic of China to sup-
                          port the development of national champions.
                     (c) APPROPRIATE CONGRESSIONAL COMMITTEES DEFINED.-ln
                 this section, the term "appropriate congressional committees"
                 means-
                          (1) the Committee on Foreign Affairs of the House of Rep-
                     resentatives;
                          (2) the Committee on Armed Services of the House of
                     Representatives;
                          (3) the Committee on Foreign Relations of the Senate;
                     and
                          (4) the Committee on Armed Services of the Senate.

                 DIVISION ff-PROTECTING AMERICANS
                  FROM FOREIGN ADVERSARY CON-
                  TROLLED APPLICATIONS ACT
                 SEC. 1. SHORT TITLE.
                         This division may be cited as the "Protecting Americans from
                     Foreign Adversary Controlled Applications Act".
                 SEC.     2.   PROHIBITION OF    FOREIGN       ADVERSARY   CONTROLLED
                               APPLICATIONS.
                        (a) 1N GENERAL.-
                            (1) PROHIBITION OF FOREIGN ADVERSARY CONTROLLED
                        APPLICATIONS.-lt shall be unlawful for an entity to distribute,
                        maintain, or update (or enable the distribution, maintenance,
                        or updating of) a foreign adversary controlled application by
                        carrying out, within the land or maritime borders of the United
                        States, any of the following:




                                                                                          Addendum - 2
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                                             H . R. 815--62
                                (A) Providing services to distribute, maintain, or
                           update such foreign adversary controlled application
                           (including any source code of such application) by means
                           of a marketplace (including an online mobile application
                           store) through which users within the land or maritime
                           borders of the United States may access, maintain, or
                           update such application.
                                (B) Providing internet hosting services to enable the
                           distribution, maintenance, or updating of such foreign
                           adversary controlled application for users within the land
                           or maritime borders of the United States.
                           (2) APPLICABILITY.--Subject to paragraph (3), this sub-
                      section shall apply-
                                (A) in the case of an application that satisfies the
                           definition of a foreign adversary controlled application
                           pursuant to subsection (g)(3)(A), beginning on the date
                           that is 270 days after the date of the enactment of this
                           division; and
                                (B) in the case of an application that satisfies the
                           definition of a foreign adversary controlled application
                           pursuant to subsection (g)(3)(B), beginning on the date
                           that is 270 days after the date of the relevant determination
                           of the President under such subsection.
                           (3) EXTENSION.-With respect to a foreign adversary con-
                      trolled application, the President may grant a 1-time extension
                      of not more than 90 days with respect to the date on which
                      this subsection would otherwise apply to such application
                      pursuant to paragraph (2), if the President certifies to Congress
                      that-
                                (A) a path to executing a qualified divestiture has
                           been identified with respect to such application;
                                (B) evidence of significant progress toward executing
                           such qualified divestiture has been produced with respect
                           to such application; and
                                (C) there are in place the relevant binding legal agree-
                           ments to enable execution of such qualified divestiture
                           during the period of such extension.
                      (b) DATA AND INFORMATION PORTABILITY TO ALTERNATIVE
                 APPLICATIONS.-Before the date on which a prohibition under sub-
                 section (a) applies to a foreign adversary controlled application,
                 the entity that owns or controls such application shall provide,
                 upon request by a user of such application within the land or
                 maritime borders of United States, to such user all the available
                 data related to the account of such user with respect to such
                 application. Such data shall be provided in a machine readable
                 format and shall include any data maintained by such application
                 with respect to the account of such user, including content (including
                 posts, photos, and videos) and all other account information.
                      (c) EXEMPTIONS.-
                           (1) EXEMPTIONS FOR QUALIFIED DIVESTITURES.--Subsection
                     (a)-
                             (A) does not apply to a foreign adversary controlled
                         application with respect to which a qualified divestiture
                         is executed before the date on which a prohibition under
                         subsection (a) would begin to apply to such application;
                         and




                                                                                           Addendum - 3
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                                                 H . R. 815--63
                                  (B) shall cease to apply in the case of a foreign
                             adversary controlled application with respect to which a
                             qualified divestiture is executed after the date on which
                             a prohibition under subsection (a) applies to such applica-
                             tion.
                             (2) EXEMPI'IONS FOR CERTAIN NECESSARY SERVICES.-Sub-
                        sections (a) and (b) do not apply to services provided with
                        respect to a foreign adversary controlled application that are
                        necessary for an entity to attain compliance with such sub-
                        sections.
                        (d) ENFORCEMENT.-
                             (1) CIVIL PENALTIES.-
                                  (A) FOREIGN ADVERSARY CONTROLLED APPLICATION VIO-
                             LATIONS.-An entity that violates subsection (a) shall be
                             subject to pay a civil penalty in an amount not to exceed
                             the amount that results from multiplying $5,000 by the
                             number of users within the land or maritime borders of
                             the United States determined to have accessed, maintained,
                             or updated a foreign adversary controlled application as
                             a result of such violation.
                                  (B) DATA AND INFORMATION VIOLATIONS.-An entity
                             that violates subsection (b) shall be subject to pay a civil
                             penalty in an amount not to exceed the amount that results
                             from multiplying $500 by the number of users within the
                             land or maritime borders of the United States affected
                             by such violation.
                             (2) ACTIONS BY ATTORNEY GENERAL.-The Attorney Gen-
                        eral-
                                  (A) shall conduct investigations related to potential
                             violations of subsection (a) or (b), and, if such an investiga-
                             tion results in a determination that a violation has
                             occurred, the Attorney General shall pursue enforcement
                             under paragraph (1); and
                                  (B) may bring an action in an appropriate district
                             court of the United States for appropriate relief, including
                             civil penalties under paragraph (1) or declaratory and
                             injunctive relief.
                        (e) SEVERABILITY.-
                             (1) IN GENERAL.-If any provision of this section or the
                        application of this section to any person or circumstance is
                        held invalid, the invalidity shall not affect the other provisions
                        or applications of this section that can be given effect without
                        the invalid provision or application.
                             (2) SUBSEQUENT DETERMINATIONS.-If the application of
                        any provision of this section is held invalid with respect to
                        a foreign adversary controlled application that satisfies the
                        definition of such term pursuant to subsection (g)(3)(A), such
                        invalidity shall not affect or preclude the application of the
                        same provision of this section to such foreign adversary con-
                        trolled application by means of a subsequent determination
                        pursuant to subsection (g)(3)(B).
                        (0 RULE OF CONSTRUCTION.-Nothing in this division may be
                     construed-
                             (1) to authorize the Attorney General to pursue enforce-
                        ment, under this section, other than enforcement of subsection
                        (a) or(b);




                                                                                               Addendum - 4
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                                            H . R. 815--64
                          (2) to authorize the Attorney General to pursue enforce-
                     ment, under this section, against an individual user of a foreign
                     adversary controlled application; or
                          (3) except as expressly provided herein, to alter or affect
                     any other authority provided by or established under another
                     provision of Federal law.
                     (g) DEFINITIONS.-ln this section:
                          (1) CONTROLLED BY A FOREIGN ADVERSARY.-The term "con-
                     trolled by a foreign adversary'' means, with respect to a covered
                     company or other entity, that such company or other entity
                     is-
                               (A) a foreign person that is domiciled in, is
                          headquartered in, has its principal place of business in,
                          or is organized under the laws of a foreign adversary
                          country;
                               (B) an entity with respect to which a foreign person
                          or combination of foreign persons described in subpara-
                          graph (A) directly or indirectly own at least a 20 percent
                          stake; or
                               (C) a person subject to the direction or control of a
                          foreign person or entity described in subparagraph (A)
                          or(B).
                          (2) COVERED COMPANY.-
                               (A) IN GENERAL.-The term "covered company'' means
                          an entity that operates, directly or indirectly (including
                          through a parent company, subsidiary, or affiliate), a
                          website, desktop application, mobile application, or aug-
                          mented or immersive technology application that-
                                    (i) permits a user to create an account or profile
                               to generate, share, and view text, images, videos, real-
                               time communications, or similar content;
                                    (ii) has more than 1,000,000 monthly active users
                               with respect to at least 2 of the 3 months preceding
                               the date on which a relevant determination of the
                               President is made pursuant to paragraph (3)(B);
                                    (iii) enables 1 or more users to generate or dis-
                               tribute content that can be viewed by other users of
                               the website, desktop application, mobile application,
                               or augmented or immersive technology application; and
                                    (iv) enables 1 or more users to view content gen-
                               erated by other users of the website, desktop applica-
                               tion, mobile application, or augmented or immersive
                               technology application.
                               (B) EXCLUSION.-The term "covered company" does not
                          include an entity that operates a website, desktop applica-
                          tion, mobile application, or augmented or i=ersive tech-
                          nology application whose primary purpose is to allow users
                          to post product reviews, business reviews, or travel
                          information and reviews.
                          (3) FOREIGN ADVERSARY CONTROLLED APPLICATION.-The
                     term "foreign adversary controlled application" means a
                     website, desktop application, mobile application, or augmented
                     or immersive technology application that is operated, directly
                     or indirectly (including through a parent company, subsidiary,
                     or affiliate), by-
                               (A)anyof-
                                    (i) ByteDance, Ltd.;




                                                                                          Addendum - 5
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                                                 H . R. 815--65
                                        (ii) TikTok;
                                        (iii) a subsidiary of or a successor to an entity
                                   identified in clause (i) or (ii) that is controlled by
                                   a foreign adversary; or
                                        (iv) an entity owned or controlled, directly or
                                   indirectly, by an entity identified in clause (i), (ii),
                                   or (iii); or
                                   (B) a covered company that-
                                        (i) is controlled by a foreign adversary; and
                                        (ii) that is determined by the President to present
                                   a significant threat to the national security of the
                                   United States following the issuance of-
                                              (1) a public notice proposing such determina-
                                         tion; and
                                              (II) a public report to Congress, submitted not
                                        less than 30 days before such determination,
                                        describing the specific national security concern
                                        involved and containing a classified annex and
                                        a description of what assets would need to be
                                        divested to execute a qualified divestiture.
                              (4) FOREIGN ADVERSARY COUNTRY.-The term "foreign
                         adversary country" means a country specified in section
                         4872(d)(2) of title 10, United States Code.
                              (5) INTERNET HOSTING SERVICE.-The term "internet
                         hosting service" means a service through which storage and
                         computing resources are provided to an individual or organiza-
                         tion for the accommodation and maintenance of 1 or more
                         websites or online services, and which may include file hosting,
                         domain name server hosting, cloud hosting, and virtual private
                         server hosting.
                              (6) QUALIFIED DIVESTITURE.-The term "qualified divesti-
                         ture" means a divestiture or similar transaction that-
                                   (A) the President determines, through an interagency
                              process, would result in the relevant foreign adversary
                              controlled application no longer being controlled by a for-
                              eign adversary; and
                                   (B) the President determines, through an interagency
                              process, precludes the establishment or maintenance of
                              any operational relationship between the United States
                              operations of the relevant foreign adversary controlled
                              application and any formerly affiliated entities that are
                              controlled by a foreign adversary, including any cooperation
                              with respect to the operation of a content recommendation
                              algorithm or an agreement with respect to data sharing.
                              (7) SOURCE CODE.-The term "source code" means the com-
                         bination of text and other characters comprising the content,
                         both viewable and nonviewable, of a software application,
                         including any publishing language, programming language, pro-
                         tocol, or functional content, as well as any successor languages
                         or protocols.
                              (8) UNITED STATES.-The term "United States" includes
                         the territories of the United States.
                 SEC. 3. JUDICIAL REVIEW.
                          (a) RIGHT OF ACTION.-A petition for review challenging this
                     division or any action, finding, or determination under this division




                                                                                                Addendum - 6
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                                                 H . R. 815--66
                     may be filed only in the United States Court of Appeals for the
                     District of Columbia Circuit.
                          (b) EXCLUSIVE JURISDICTION.-The United States Court of
                     Appeals for the District of Columbia Circuit shall have exclusive
                     jurisdiction over any challenge to this division or any action, finding,
                     or determination under this division.
                          (c) STATUTE OF LIMITATIONS.-A challenge may only be
                     brought-
                              (1) in the case of a challenge to this division, not later
                          than 165 days after the date of the enactment of this division;
                          and
                              (2) in the case of a challenge to any action, finding, or
                          determination under this division, not later than 90 days after
                          the date of such action, finding, or determination.

                     DIVISION I-PROTECTING AMERICANS'
                      DATA FROM FOREIGN ADVERSARIES
                      ACT OF 2024
                     SEC. l . SHORT TITLE.
                         This division may be cited as the "Protecting Americans' Data
                     from Foreign Adversaries Act of 2024".
                     SEC. 2. PROHIBITION ON TRANSFER OF PERSONALLY IDENTIFIABLE
                              SENSITIVE DATA OF UNITED STATES INDIVIDUALS TO FOR-
                              EIGN ADVERSARIES.
                          (a) l'ROHIBITION.-lt shall be unlawful for a data broker to
                     sell, license, rent, trade, transfer, release, disclose, provide access
                     to, or otherwise make available personally identifiable sensitive
                     data of a United States individual to-
                               (1) any foreign adversary country; or
                               (2) any entity that is controlled by a foreign adversary.
                          (b) ENFORCEMENT BY FEDERAL TRADE COMMISSION.-
                               (1) UNFAIR OR DECEPTIVE ACTS OR PRACTICES.-A violation
                          of this section shall be treated as a violation of a rule defining
                          an unfair or a deceptive act or practice under section 18(a)(l)(B)
                          of the Federal Trade Commission Act (15 U.S.C. 57a(a)(l)(B)).
                               (2) POWERS OF COMMISSION.-
                                    (A) IN GENERAL.-The Commission shall enforce this
                               section in the same manner, by the same means, and
                               with the same jurisdiction, powers, and duties as though
                               all applicable terms and provisions of the Federal Trade
                               Commission Act (15 U.S.C. 41 et seq.) were incorporated
                               into and made a part of this section.
                                    (B) PRivILEGES AND IMMUNITIES.-Any person who vio-
                               lates this section shall be subject to the penalties and
                               entitled to the privileges and immunities provided in the
                               Federal Trade Commission Act.
                               (3) AUTHORITY PRESERVED.-Nothing in this section may
                          be construed to limit the authority of the Commission under
                          any other provision oflaw.
                          (c) DEFINITIONS.-ln this section:
                               (1) CoMMISSION.-The term "Commission" means the Fed-
                          eral Trade Commission.




                                                                                                Addendum - 7
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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                     )
  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

           DECLARATION OF TALIA CADET IN SUPPORT OF
               PETITIONERS’ BRIEF ON THE MERITS

 I, Talia Cadet, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I live in Capitol Heights, Maryland and work as the chief

 digital officer at a lobbying firm in Washington, D.C.

      3.    I started using TikTok in 2020 as a form of entertainment and

 connection during the isolation of the Covid-19 pandemic. I found the

 platform to be a joyful and creative space, and was inspired by how some

                                                                 Addendum - 8
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 creators used the platform to uplift others and represent voices that are

 not always heard. I was able to learn about so many things on the app.

 For example, TikTok is where I fell in love with #BlackBookTok and

 reading, planned amazing vacations to Las Vegas, New Orleans, and

 South Africa, and renewed my enthusiasm for living in the DC

 Metropolitan area. I love watching content on TikTok—it really is an

 incredible source of knowledge curated specifically for things that

 interest me.

      4.    After about two years, I decided to try creating some videos of

 my own. These videos often focus on one of my favorite things—books. I

 love to review books and promote Black authors and independent

 authors. See Multimedia Upload at Cadet Video A.1 I find it very exciting

 that I can help others discover books while helping diverse authors to

 increase their following. In addition to reviewing books, I often review

 and discuss Black-owned businesses in the D.C. area and nationwide.


      1
         In compliance with the Court’s June 3, 2024 Procedures
 Regarding Submission of Audio or Video Files, the Petitioners have
 uploaded to the Court’s Box.com file repository a set of TikTok videos as
 part of the record. A public link to this particular video is available
 here:
 https://www.tiktok.com/@taliacadet/video/7244248168416759082?_r=1&
 _t=8n90vITp2OE.
                                       2
                                                                  Addendum - 9
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 See Multimedia Upload at Cadet Video B.2 I really enjoy connecting with

 small and minority business owners and using my platform to help

 amplify their voices.

      5.    Additionally, some of my videos focus on my life, including

 reviewing my international vacations, tips for fun events around the D.C.

 area, and my goals for each month. These videos provide me a creative

 outlet, and I love seeing my followers’ responses to and interactions with

 these videos. The community on TikTok is so welcoming that I have even

 felt comfortable sharing more vulnerable topics with my followers. For

 example, when I was diagnosed with a specific corneal disease, I shared

 my journey on TikTok—and several of my followers with the same

 diagnosis told me that seeing my videos helped them feel less anxious

 about the process. See Multimedia Upload at Cadet Video C.3 I have also

 used TikTok to talk about celibacy and self-care—topics that are

 important to me but not always easy to talk about on other platforms.




      2
         A public link to this video is available here:
 https://www.tiktok.com/@taliacadet/video/7298069835827940654?_r=1&
 _t=8n91IyCmhVm.
       3
         A public link to this video is available here:
 https://www.tiktok.com/@taliacadet/video/7283145948199521579?_r=1&
 _t=8n91Lfef70g.
                                        3
                                                             Addendum - 10
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 See Multimedia Upload at Cadet Video D.4

       6.   Around the fall of 2022, I noticed that my TikTok content was

 resonating with the public and starting to go viral. In response, I started

 posting more frequently, hoping to grow community on TikTok. I have

 now amassed over 129,000 TikTok followers, and last year, made about

 15 percent of my annual income from brand deals on the app and the

 Creator Rewards program. This year, I stand to make more. As a first-

 time homeowner living in an expensive metropolitan area, this

 supplemental income has given me some financial freedom to enjoy my

 life and have new experiences.

       7.   My success on TikTok has also afforded me some incredible

 and life-changing opportunities. For example, I have been asked to host

 in-person author talks in my community and in other cities, several for

 diverse authors. I have also been approached by companies to collaborate

 with them—for example, Hulu asked me to promote a new series

 adapting a book that I enjoyed. I have also worked on paid partnerships

 with some of my favorite Black woman-owned brands, and have even


       4
        A public link to this video is available here:
 https://www.tiktok.com/@taliacadet/video/7188524395273620782?_r=1&
 _t=8n91OInCY2h.
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 been featured in national news media outlets.

      8.    But even more important to me than the income and other

 opportunities has been the strong community I created on TikTok. It has

 been so impactful to connect with book lovers across the country as well

 as diverse and independent authors and Black-owned and women-owned

 businesses who are making a difference. I love being able to use my

 platform to amplify their voices, as well as my own. As a Black woman

 in her thirties, I know the importance of seeing yourself reflected in

 culture—and TikTok has created a platform for increased representation.

 I love following and connecting with other creators who share some of my

 background and look like me—as well as being a role model for other

 young Black women on the app. In my experience, TikTok is truly for

 anyone looking to see people who look and live like them, entertain and

 educate themselves, and become a better person.

      9.    I work hard to foster, maintain, and grow this community on

 TikTok; and enjoy taking advantage of TikTok’s tools to do so. For

 example, I create videos in the TikTok app and also use CapCut to edit

 my vlogs (video blogs) for posting on TikTok. I enjoy using these products

 because they feel intuitive and are easy to use to express myself


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 creatively. CapCut makes it easy to edit videos because the interface is

 similar to the process in TikTok, so the process feels familiar.

       10.   I also host a weekly TikTok LIVE every Tuesday night that I

 call “Talia Talk Tuesdays,” in which my followers tune in for a live

 conversation with me discussing a list of fun and/or topical issues for the

 day—everything from what I’m reading and what businesses I’m

 supporting to sports and entertainment news. During these events, my

 followers can send in questions and comments that I can respond to in

 real time. I look forward to this event every week because it gives me a

 chance to deepen my connection with my followers over topics that are

 important and entertaining. Thanks to events like these, as well as my

 consistent posting of TikTok videos, I frequently meet some of my

 followers in real life—both in Washington, DC and in other U.S. cities

 and abroad. For example, I met followers in Mexico and South Africa

 when I was traveling for vacation. That is a testament to the global reach

 and impact of TikTok. In fact, I am aware that almost ten percent of my

 TikTok followers live abroad.

       11.   The kinds of comments that I have received from my TikTok

 followers remind me every day why I create videos.            For example,


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 followers have told me that my TikTok videos: (1) inspired them and their

 friends to start a book club; (2) encouraged them to buy products from

 Black-owned businesses or read books by independent authors that I

 reviewed; (3) helped them make new friends in DC by following my

 monthly DC event guides; (4) inspired them as fellow plus-size women;

 and (5) encouraged them to travel solo after seeing me do it. This is the

 greatest form of inspiration for me, and makes me so excited to keep

 creating content on TikTok.

       12.   I have tried using other social media platforms and have not

 found the same success or community. For example, while I have over

 129,000 TikTok followers, I only have about 9,700 on Instagram, and

 about 4,100 subscribers to my newsletter. I have found that my success

 on TikTok has helped fuel some interest in my Instagram account, as well

 as enabled me to create a weekly newsletter for my fans—but nothing

 comes close to the organic reach of TikTok to get my content seen by new

 users who are likely to find it interesting. For example, by using TikTok

 hashtags like #BlackBookTalk, I am able to instantly tap into a

 community of followers likely to be interested in my videos reviewing new

 works by Black authors. Neither Instagram nor the other social media


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 apps that I have used have had anywhere near the same effect as TikTok.

       13.   I also find that the nature of my expression is different on

 TikTok than it is on other apps. The main “For You Page” on TikTok

 allows longer videos than the main feeds on Instagram (“Reels”) or

 Facebook (“Stories”), which allows me to have the time to really delve

 into the details of a good book review or thoughtfully engage in a

 discussion about celibacy and self-care. For example, Instagram has a

 90-second time limit for videos created in Reels, so I could not use this

 feature to create my longer-form videos. This long-form style of social

 media encourages me to be a more real and less filtered version of myself

 and to truly express myself—more so than on the other apps.             My

 experience as a TikTok user is also different than on other apps—on

 TikTok, I am able to easily discover and learn new things while also

 personalizing and curating my feed in a manner unique to me.

       14.   A ban on TikTok threatens everything I have built on the

 platform.    There is so much to lose—community, representation,

 information, livelihoods and freedom of expression.             I could not

 reconstitute my following on other platforms in part because a number of

 my TikTok followers have told me that they do not use the other leading


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 social media apps like Facebook or Instagram. Also, despite having

 posted some similar content on these other apps, I have not seen the same

 rates of growth and engagement. I am also concerned because, if this can

 happen to TikTok and its 170 million users, what is next? This law sets

 a dangerous precedent for the government telling us how to and with

 whom we can communicate. I cannot stand for that, which is why I’m a

 part of this lawsuit.

       15.   Even if TikTok was sold to a U.S. company, I would lose access

 to my international content and followers, which would limit my reach

 and shrink my world. I am an avid traveler and have used TikTok in

 other countries to plan trips and review international destinations and

 would lose this resource. I do not believe that the experience on the app—

 that I have come to know and love and which has been fundamental to

 the community that I built—would stay the same if TikTok was sold to

 another owner. I have seen how social media products change with new

 ownership, fundamentally altering both the algorithm and the user

 experience. For example, when Twitter changed to X, in my opinion, the

 quality of the advertising decreased and the user experience declined. I

 have no reason to believe that TikTok would be any different.


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       I declare under penalty of perjury that the foregoing is true and

  correct.

       Signed in Capitol Heights, Maryland this 18th day of June, 2024.




                                                    Talia Cadet




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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                     )
  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

      DECLARATION OF BRIAN FIREBAUGH IN SUPPORT OF
            PETITIONERS’ BRIEF ON THE MERITS

 I, Brian Firebaugh, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I am a first-generation rancher in Hubbard, Texas, where my

 wife and I own and operate 4F Ranch, where we raise Texas-registered

 Longhorn cattle for beef and breeding production.

      3.    After serving in the U.S. Marine Corps from 1999 to 2003, I

 struggled to find my footing as a civilian. I experienced homelessness and

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 addiction but eventually obtained treatment through the Department of

 Veterans’ Affairs and got a job working in a hospital. The corporate

 world, where I spent many hours each day at the hospital, was not for

 me. From my cubicle, I continued thinking about my lifelong dream to

 become a rancher.

      4.    I saved and invested some of the money I earned from the

 hospital, and in 2015 my wife and I were able to purchase a small plot of

 land in north Texas. I am the first person in my family to become a

 rancher, so I was really starting from scratch. In 2020, I had only about

 5,000 followers on TikTok and was struggling to develop the business side

 of the ranch. I was inspired to post about my experiences on the ranch

 by another TikTok creator who often encouraged people to put energy

 into their interests and what makes them happy. For me, that is running

 the ranch, raising cattle, and producing beef.

      5.    One day, as I was pulling into my driveway, my Longhorns

 were lying in the road and I could not get through. I decided to start

 recording, and posted a video on TikTok calling it a “Texas traffic jam.”

 This video generated a lot of views and piqued my interest in creating

 more content about my ranch. Approximately a year later, I created


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 another video to dispel the myth that Longhorns are vicious and

 dangerous—by showing how cuddly one of my cows was and petting her.

 This video went “viral,” as it was viewed over 72,000 times, which led

 people to follow me and ask questions about ranching, agriculture, and

 livestock. See Multimedia Upload at Firebaugh Video A.1 The video and

 the conversations it sparked fueled an interest in my way of life.

      6.    From there, I continued to post more content to educate

 people about maintaining a ranch and raising livestock and to answer my

 followers’ questions on these topics.       See Multimedia Upload at

 Firebaugh Videos B & C.2 It was easy to learn to create engaging and

 interesting videos on TikTok, especially using the tools available in the

 app. I create all of my videos through TikTok because I find the editing

 experience much easier than on the other social media apps. As a 43-

 year-old rancher in central Texas, I don’t have time or interest to learn



      1
         In compliance with the Court’s June 3, 2024 Procedures
 Regarding Submission of Audio or Video Files, the Petitioners have
 uploaded to the Court’s Box.com file repository a set of TikTok videos as
 part of the record. A public link to this particular video is available
 here: https://www.tiktok.com/@cattleguy/video/6862508558412500230.
       2
         Public links to these videos are available here:
 https://www.tiktok.com/@cattleguy/video/6995941471702519046;
 https://www.tiktok.com/@cattleguy/video/7014165019361348870.

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 the more complicated editing tools offered on the other platforms—I like

 TikTok precisely because it is simple to use.

      7.    Because of the way TikTok’s algorithm learns about each

 user’s interests and connects them with new videos and creators, many

 people with an interest in agriculture and ranching—whether well-

 established in a long line of family ranchers, just starting out, or not even

 directly tied to ranching but interested in learning about it as a way of

 life—end up viewing my content. Videos I post on TikTok will sometimes

 garner millions of views, while the same video on other platforms may

 end up with just a few hundred views. For example, I have 443,000

 TikTok followers, compared to only about 23,000 on Instagram and only

 690 subscribers on YouTube.       While I have posted content on each

 platform, I now focus on TikTok because I have been much more

 successful there.

      8.    My wife and I began selling beef to the local community, and

 particularly in the early stages of the COVID-19 pandemic, I observed

 that people were very cautious about where their food was coming from.

 So I used the TikTok platform to show that our ranch was focused on

 healthy local food production for our community.             Marketing and


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 reputation is everything in ranching, and TikTok allowed us to market

 our beef and products and build goodwill with customers and the

 ranching community. For example, when we announce a sale or a new

 product on the app, TikTok pushes that announcement to people who are

 interested in the life I live and the products we sell. The alternative on

 other platforms like Facebook is paid advertising, which is expensive

 and, in my experience, ineffective.

      9.    My success on TikTok has also allowed me the opportunity to

 build community by organizing events to help others—for example,

 dropping beef off to people in Texas struggling with food security.

 Similarly, after a series of devastating wildfires in the Texas panhandle,

 I was able to use the app to raise donations of critical cattle feed and

 antibiotics to send to ranchers in need.     See Multimedia Upload at

 Firebaugh Videos D & E.3

      10.   Being able to connect with the ranching community on TikTok

 has been incredibly important to me and my family. There are many



      3
        Public links to these videos are available here:
 https://www.tiktok.com/@cattleguy/video/7342261566936501547?q=cattl
 eguy&t=1718323350765;
 https://www.tiktok.com/@cattleguy/video/7343825772030725418.

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 ranches in Texas and elsewhere run by families who have been in the

 industry for over a hundred years. They tend to close ranks and be wary

 of outsiders. But I have been able to use TikTok to build connections with

 many of these ranchers. For example, I have developed a relationship

 with the family that runs a historic Texas ranch that was breaking colts

 during the Civil War. We met through following each other’s content on

 TikTok and then met in person. Having that kind of access to this

 historical group, and being able to receive and pass along mentorship and

 guidance, has meant everything to me and would not have been possible

 without TikTok.

       11.   In addition to building a valuable community on TikTok, I was

 also able to quit my job at the hospital and focus full-time on running the

 ranch and creating more content to drive education about the

 magnificent breed of Longhorn cattle. I now earn most of my income

 through selling my ranch products promoted on TikTok.                I also

 occasionally host TikTok LIVE videos, which give viewers the

 opportunity to “tip” me. The visibility I achieve on TikTok cannot be

 matched elsewhere. For example, when I post on TikTok about farmers’

 markets that we will be attending, we get people coming from all over the


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 state and even other states to see us.

       12.    My success on TikTok has also led to some other life-changing

 opportunities for me. Recently, producers of a Netflix game show called

 “The Trust” contacted me because of my presence on TikTok. I ended up

 going on the show and winning almost $80,000. With my winnings from

 the Netflix show, my wife and I were able to pay for the costs associated

 with adopting our son. We never would have been able to accomplish

 that without those winnings, and that has resulted in the greatest gift of

 our lives.

       13.    We have chosen to care for our young son at home rather than

 send him to daycare. We value the time and opportunity to teach him at

 home about our values and our way of life on the ranch. I love that I get

 to spend so much time with my son. The money that I have been able to

 earn through TikTok and selling my products marketed on TikTok have

 allowed me that opportunity, because otherwise, I would be forced to

 accept jobs off of the ranch.

       14.    I am extremely worried about how a ban of TikTok would

 impact me. Without access to TikTok, I would sell our ranch; we do not

 have any remotely equivalent means to market our products, and while


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 we have gained a following through TikTok, we do not have the resources

 of multi-generation ranchers. I fear needing to get a different job, which

 would take me out of the house and require me to pay for daycare for our

 son rather than raising him at home and spending time with him. And I

 would lose the most important tool for helping my community and

 learning from and mentoring other ranchers. If you ban TikTok, you ban

 my way of life.

       15.     Unfortunately, I have already started to see the effects of the

 Act since President Biden signed it in April of 2024. I noticed I lost some

 TikTok followers and saw a decline in the rate of new followers. I have

 had at least one person who was a dedicated follower tell me that he is

 now convinced that it is dangerous or harmful to keep his TikTok account

 because the government saw fit to ban it. I have to plan for the worst,

 and have had to take some preliminary steps to continue the forward

 momentum of my ranch and prepare for the possibility that I will lose my

 livelihood.

       16.     The existence of other social media platforms such as

 Instagram and Facebook does not make me any less concerned about the

 Act. Those platforms are fundamentally different, and I have spent years


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 learning about TikTok and how it operates. As a result, I make videos

 with TikTok and my TikTok followers in mind.              I choose certain

 structures and editing tools because I know what will best carry my

 message and resonate with other users. There would be no way for me

 to simply transfer it to another platform. I would be set back years,

 forced to learn how to best express myself on a completely different

 platform—one that is not my choice.

       17.   I also have followers from all over the world, including other

 countries with large ranching communities, such as Canada, Australia,

 New Zealand, and Sweden. I am concerned that the Act will cause me to

 lose contact with these groups, even if a version of TikTok is permitted to

 operate in the United States because it would be a separate platform from

 the one used in other countries.

       18.   Aside from my viewpoint as a rancher, as a citizen and a

 veteran, I find it really troubling that the government is forcing this ban

 on TikTok on the American people, which I believe is a gross violation of

 our First Amendment rights. Our rights will be violated even if the app

 is sold. First, because TikTok itself is saying that it won’t be possible to

 simply resume operation of the same app and the same algorithm under


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new ownership. Also, the culture of the app will heavily depend on its

new owner, and in the event the app gets purchased by a party who is

interested, for example, in pushing their own narrative instead of

running a successful, unbiased, and accessible social media platform, the

unique culture of TikTok will be ruined. It will not be the same app.



     I declare under penalty of perjury that the foregoing is true and

correct.

     Signed in Hubbard, Texas this 18th day of June, 2024.




                                                  Brian Firebaugh




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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                     )
  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

           DECLARATION OF STEVEN KING IN SUPPORT OF
               PETITIONERS’ BRIEF ON THE MERITS

 I, Steven King, declare as follows:

      1.    I make this declaration from personal knowledge.

      1.    I live in Buckeye, Arizona with my husband.

      2.    I have a background in healthcare administration and worked

 for many years running a nursing home and caring for senior citizens.

 While I enjoyed this career, I always felt that I was meant to be in a more

 creative field, such as entertainment—however, this did not feel like a

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 practical or attainable goal.

      3.    I started creating videos on TikTok in 2019 and immediately

 fell in love with the process. TikTok gave me the creative outlet that I

 had been craving my whole life, and provided me with a powerful

 platform to connect with and entertain others. My TikTok videos started

 gaining a lot of audience engagement, and I saw the potential for this

 hobby to become a career. In order to build and foster this potential, I

 began posting videos consistently several times a day—often humorous

 lip-syncing videos or thoughts from my daily life.

      4.    Eventually, my content grew such a large following that I was

 able to quit my job in healthcare and become a full-time creator. I now

 have 6.8 million TikTok followers and feel so fortunate to be able to do

 what I love every day—creating fun, inspiring, and entertaining content,

 while connecting with others all over the globe. I post videos on a lot of

 different topics relevant to my daily life, including, for example, fashion

 and beauty products, travel, food, my relationship, friendships, and dogs.

 See, e.g., Multimedia Upload at King Video A.1 It is no exaggeration to


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       In compliance with the Court’s June 3, 2024 Procedures
 Regarding Submission of Audio or Video Files, the Petitioners have
 uploaded to the Court’s Box.com file repository a set of TikTok videos as
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 say that TikTok completely changed my life and opened up my world.

       5.   TikTok has an astonishing ability to create community. The

 platform encourages authentic expression—in contrast to many other

 social media apps that promote fakeness or filtering reality to appear

 perfect. Because of this encouragement, I have been able to be very

 vulnerable on TikTok and discuss deeply personal stories about my life—

 in addition to my more entertaining content.

       6.   For example, I made a series of TikTok videos about my

 traumatic childhood, explaining how my parents divorced when I was

 three, and I grew up on welfare. See, e.g., Multimedia Upload at King

 Videos B & C.2 Then, starting at age 12, I was in and out of a boys’ home

 for troubled youth, spent time locked up in a juvenile custody center, and

 later lived in a group home. The amount of love and support that I

 received from my TikTok followers in response to these videos was

 immense and made me feel so grateful to be a part of this community. I




 part of the record. A public link to this particular TikTok video is also
 available here:
 https://www.tiktok.com/@btypep/video/7358586308920560942.
 2
   Public links to these TikTok videos are also available here:
 https://www.tiktok.com/@btypep/video/6946671894703656198?lang=en;
 https://www.tiktok.com/@btypep/video/6949560195374648582?lang=en.
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 am hopeful that sharing these memories helped educate others about

 what it is like to live in institutional homes for children.

       7.   I have also used TikTok to discuss my experience as a gay man

 living in Arizona, my loving 28-year relationship with my husband, and

 my sobriety journey.      My TikTok followers especially love to ask

 questions during my TikTok LIVE-streams about my experience coming

 out as gay and about my marriage. I see it as my responsibility to share

 my experiences in the hopes that it might help others who may be

 struggling with certain issues such as embracing their identities and

 living confident, healthy lives. I have not experienced these same kinds

 of real and vulnerable conversations on other social media apps—

 something special about TikTok allows people to be themselves and seek

 out information that interests them. Additionally, many of the TikTok

 users asking me questions like these are Gen Z or young millennials—

 many of whom seem to use TikTok more than Facebook or Instagram.

       8.   My community on TikTok extends far beyond the United

 States. For example, I have followers in the United Kingdom, New

 Zealand, South Africa, and the Philippines.         During recent trips to

 Mexico, Israel, Greece, Morocco, and France, I met many of my fans in


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 person. I enjoy interacting with my global audience, and meeting some

 of my fans in person was an incredible experience.

       9.    I make almost all my income from TikTok, including from the

 TikTok Creator Rewards Program, LIVE videos, and brand deals. At

 times, I have earned about $2,500 for just one LIVE stream. My success

 on TikTok has also opened up many opportunities for me, such as

 becoming a published author and being honored at the Cheer Choice

 Awards, which recognizes creators on social media who are making a

 positive impact using their platforms.

       10.   I have not had anywhere near the same success on other social

 media platforms like Instagram, Facebook, or YouTube, despite posting

 content on them. While I have approximately 6.8 million followers on

 TikTok, I only have about 228,000 on Instagram, 137,000 on Facebook,

 and 16,100 on YouTube. These other apps have not helped my content

 to go viral in the same way that TikTok has, nor have I been able to

 establish the same sense of community among my followers. The manner

 in which TikTok curates content allows for a more real and authentic

 experience than the other apps, which fosters vulnerability and

 connection.


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       11.   I also enjoy consuming content on TikTok. For example, I do

 not watch television, so I get all of my news from TikTok, including both

 national and global news. I follow certain local and international TikTok

 creators who are journalists that I trust to produce unbiased and

 authentic news.     I also follow other content creators whom I find

 creatively inspiring and enjoy using TikTok for entertainment.

       12.   If TikTok is banned in the United States,            I would

 immediately lose the career and community that I have worked so hard

 to build and would probably have to go back to working in healthcare

 administration. I have not been able to build the same community on

 other social media platforms, nor have I been able to monetize my content

 to the same extent. I would be extremely saddened to lose my community

 and the place where I have come to feel so at home in expressing myself

 creatively and engaging with others.

       13.   Even if TikTok was still available in the U.S. but divested

 from the rest of ByteDance, I would lose my international support and

 fan base. I love interacting with my international fans and visiting them

 abroad—it opens my world and exposes me to knowledge and culture

 outside my own.


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       14.   I do not believe that the TikTok experience would remain the

 same even if the app were sold. A platform’s owner can exert significant

 control over the user experience.       I believe that if TikTok and its

 algorithm was sold to a U.S. investor, the entire platform will change

 because the new owner will make decisions that will adversely affect the

 user experience, just like other apps have done. Right now, TikTok is

 special and unique precisely because it allows for a free-flowing and

 authentic user experience, unlike the other apps.

       I declare under penalty of perjury that the foregoing is true and

 correct.

       Signed in Buckeye, Arizona this 17th day of June, 2024.




                                                           Steven King




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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

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  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

       DECLARATION OF TIMOTHY MARTIN IN SUPPORT OF
             PETITIONERS’ BRIEF ON THE MERITS

 I, Timothy Martin, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I live in Mayville, North Dakota, where I coach football at a

 state university.   I played football as a quarterback at this same

 university before graduating and becoming a coach.

      3.    I attended college from 2018 to 2022, and took classes

 remotely during the Covid-19 pandemic. In 2020, during one of my

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 technology classes, my professor discussed the integration of social media

 and sports, which inspired me to try creating videos about sports on

 TikTok.

       4.   From the moment I made my first video, I found the process

 to be extremely fun and fulfilling—giving me an outlet for my creativity

 and allowing me to connect with people around the world over our love of

 sports. Especially during the isolation of the pandemic, creating TikTok

 videos was a way for me to express myself and connect with others

 virtually when I could not do so in person.

       5.   My TikTok videos primarily cover news in the world of college

 and professional football, including game recaps, player trades, coaching

 updates, team rivalries, stadium tours, sports history, and behind-the-

 scenes stories about teams or players. I also try to use my videos as an

 opportunity to spread positivity and joy, focusing on building others up

 and giving them something to look forward to.

       6.   Since 2020, I have consistently posted these videos on TikTok

 and have seen my content gain remarkable traction, to the point I now

 have one million followers on the app and some of my videos receive

 millions of views.


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      7.    I have tried posting the same content on Instagram and

 YouTube, but have not had anywhere near the same success.              On

 Instagram, I have approximately 10,200 followers, and on YouTube I

 have only 9,160 followers. In my experience, TikTok gets my videos in

 front of the viewers who are most likely to enjoy it—namely, sports fans—

 which has allowed me to grow a genuine and supportive following and

 reach many more people than on the other apps. On Instagram and

 YouTube, my videos do not seem to reach as many people, especially not

 new viewers and sports fans.

      8.    TikTok also seems to be able to get my content in front of

 different user communities. For example, I noticed that recently some

 Taylor Swift fans have discovered my TikTok account, which I suspect

 relates to the singer’s relationship with Kansas City Chiefs’ star, Travis

 Kelce, and a video I created to introduce football to Swift fans. See

 Multimedia Upload at Martin Video A.1 Overall, I think of TikTok’s




      1
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 part of the record. A public link to this particular TikTok video is also
 available here: https://www.tiktok.com/t/ZPRKTw5vu/.

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 algorithm as a smart TV, compared to the other apps’ algorithms as old

 flat screen TVs, because TikTok seems to know much better than the

 other apps where to send my videos to allow them to have the most

 impact.

      9.    I really enjoy using the video editing app CapCut to create my

 TikTok videos. CapCut allows me to easily edit my videos and apply

 certain unique features that create a fun viewing experience.          For

 example, I developed a signature style for sports commentary videos

 where I play sports footage in the background while using CapCut’s

 green-screen feature to display my head overlaying the footage while I

 narrate the scene. See Multimedia Upload at Martin Video B.2 I also

 often use CapCut’s real-time text feature (which captures the narration

 and transforms it into readable text) along with my narration so viewers

 can read along, which is especially helpful for hearing-impaired users.

 See Multimedia Upload at Martin Video C.3 CapCut makes the video



      2
        A public link to this TikTok video is also available here:
 https://www.tiktok.com/@timbosliceoflife12/video/7184163936453856554
 .
      3
        A public link to this TikTok video is also available here:
 https://www.tiktok.com/@timbosliceoflife12/video/7329317079184608554
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 editing process extremely user friendly. I do not believe that I could

 create the exact same effects—or express myself the same way—using a

 different application.

       10.   Because of the success of my TikTok videos, I have been able

 to earn as much as $4,000 to $5,000 each month, primarily from the

 TikTok Creator Rewards Program as well as some brand deals and gifts

 from TikTok Live. On average, this more than doubles the income that I

 am able to make as a new college football coach and allows me to continue

 doing what I love to do without financial stress.

       11.   The community I have grown on TikTok is even more valuable

 than the financial rewards. I have made so many wonderful connections

 through creating sports videos on the app. For example, a lot of former

 and current collegiate athletes follow my TikTok account, and I have even

 inspired some of them to start creating their own content. I try to spend

 at least a little time on TikTok every day liking or commenting on their

 videos. I also use the app for news about other sports like baseball and

 some news about politics, which I find to be more unbiased and authentic

 than on mainstream media.




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       12.   I have a lot of international TikTok followers, and really enjoy

 engaging with them. For example, about 3.9% of my followers are from

 the United Kingdom, 3.5% from Canada, and I also have followers in

 Australia, Germany, and South Africa. I have some followers in Ireland

 who are very passionate about American football. Because the sport is

 not really covered in Ireland, these followers rely on my TikTok account

 to get their football news. They often watch my evening TikTok LIVE, in

 which I do a real-time video every night where users can interact with

 me and ask questions about sports news. Recently, these followers were

 very excited that two American universities will be playing a college

 football game in Dublin, and we got to discuss the topic over TikTok.

       13.   My success as a TikTok creator has also given me life-

 changing opportunities. For example, because of the following that I

 have amassed on the platform, I was invited to attend March Madness

 games—college-level basketball end-of-season playoffs—and make

 behind-the-scenes videos interviewing players in the locker rooms. I was

 also invited to attend Media Row—a preview of the Super Bowl—as a

 member of the press and got to meet a number of players from my favorite

 team, the Philadelphia Eagles. Some of these players and their family


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 members now follow me on TikTok. Because of the connections that

 TikTok has afforded me, I hope to be able to continue my career in the

 sports world whether through coaching or sports broadcasting.

       14.   A ban on TikTok would be devastating. As a former athlete,

 I struggled to define myself after I stopped playing sports—but creating

 content on TikTok gave me a new sense of purpose and helped strengthen

 my positivity and resilience. Losing TikTok would detrimentally affect

 me and many other former athletes who also rely on content creation to

 help them rediscover their voices after they stop playing sports. I would

 also lose access to the incredible community that has come to mean so

 much to me and to the supplemental income and opportunities that

 TikTok has afforded me over the years.

       15.   I do not believe that I would be able to replicate the same

 community on other social media platforms, as my experience on those

 platforms has been so different. Because my videos do not get anywhere

 near the same reach on YouTube and Instagram, I would also likely need

 to spend money to promote my content (i.e., through the “promote”

 feature on Instagram), which would still probably not reach the same

 audience.   In 2020 when former President Trump attempted to ban


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 TikTok, I asked my followers to follow me on Instagram and other

 platforms instead, but to this day, I still only have a fraction of the

 number of TikTok followers on other apps. Without the same community

 or financial benefits, I may stop creating content on social media entirely.

      16.   Even if a U.S. version of TikTok was still available, I would

 lose my international support and fan base. I really enjoy interacting

 with my international fans and discussing football with people living all

 over the world. Additionally, I am aware that the National Football

 League (“NFL”) is trying to promote American football more

 internationally—especially in some of the countries where my videos are

 popular, like the United Kingdom—and I love that my content helps to

 further that goal. It would be very disappointing if I was no longer able

 to interact with this global community on TikTok.

      17.   Other college football coaches and I used to use Twitter (now

 “X”) to communicate, but we have seen this app become a shell of its

 former self since Elon Musk acquired it. In particular, X no longer allows

 the public to see who “likes” certain content, and also limits the number

 of direct messages that unverified accounts can send per day, restricting

 the ability to communicate and engage. I worry that even if TikTok was


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acquired by another company, my experience on the app and my ability

to share information, express myself, and create community would be

negatively impacted by decisions made by the new owner. Right now,

TikTok is the best platform out there for me to express myself, and I don’t

want that to change.

      18.   I also worry about the Act as an American who cares about

the First Amendment. While I am not very involved in government, my

family ancestors include John Adams and John Quincy Adams, and one

of my family members has run for political office. I have been raised with

a deep respect for American values and freedom of speech, and the Act

seems to violate the fundamental principle that Americans should be

allowed to express themselves where and how they choose.

      I declare under penalty of perjury that the foregoing is true and

correct.

      Signed in Mayville, North Dakota this 17th day of June, 2024.




                                                          Timothy Martin


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  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

      DECLARATION OF CHLOE JOY SEXTON IN SUPPORT OF
            PETITIONERS’ BRIEF ON THE MERITS

 I, Chloe Joy Sexton, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I live in Memphis, Tennessee with my husband, children, and

 minor sister, of whom I have legal guardianship.

      3.    In 2020, I was let go from my job after telling my employer

 that I was pregnant. At the time, I was also struggling to care for my

 mother, who was dying of brain cancer, and my seven-year-old sister. I

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 started creating TikTok videos around then as a creative outlet and

 means to financially support my family.

       4.    My videos focused on dealing with the grief of seeing a loved

 one dying from cancer, the joys and struggles of parenting a newborn,

 and my love of baking. See, e.g., Multimedia Upload at Sexton Video A.1

 I also started talking about my idea of launching a business making giant

 cookies in all kinds of flavors.

       5.    While I expected TikTok to be an entertaining creative outlet,

 I never could have anticipated the overwhelming sense of community and

 support that I get from interacting with my followers and other TikTok

 creators during this trying time in my life. My videos went viral, and I

 eventually amassed over two million followers, including people from all

 over the world. This community has supported me emotionally, made me

 laugh when I needed it the most, and given me knowledge to navigate

 some of my challenges.



       1
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 part of the record. A public link to this TikTok video is also available
 here:
 https://www.tiktok.com/@chloebluffcakes/video/7332548686473514286.

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       6.   For example, when my mother eventually passed away, I

 connected with followers from all over the world, especially women who

 were dealing with grief in many forms—losing mothers, children, and

 livelihoods. Some of my European TikTok followers informed me about

 bereavement therapy, which I found helpful for coping with my grief.

       7.   When I took guardianship of my little sister, I turned to my

 TikTok community for everything from how to cut her bangs to how to

 throw a tea party. In fact, when I threw my little sister a birthday party

 (her first birthday without our mom), hundreds of my TikTok followers—

 whom we had never met—showed up, dropping off gifts, decorations, and

 even brought a horse for pony rides. See Multimedia Upload at Sexton

 Video B.2 This event went viral and even caused the famous singer, Kelly

 Clarkson, to reach out and ask to meet me and my sister. The power that

 TikTok has to create moments like this never ceases to amaze me.

       8.   Because of the support I received from my TikTok followers, I

 was able to open my giant cookie business, Chloe’s Giant Cookies. My

 team and I have now shipped hundreds of thousands of cookies all over




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         A public link to this TikTok video is also available here:
 https://www.tiktok.com/@chloebluffcakes/video/7118846290515201326.
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 the world and baked custom orders for celebrities. I was even able to

 publish a cookbook and open a physical bakery for a few years—although

 I am now focusing more on online orders. I also generate income from

 the TikTok Creator Rewards program and brand deals on the app.

       9.    I continue to create TikTok videos documenting my baking

 process—everything from explaining how I came up with a new flavor to

 showing the behind-the-scenes of running a local business. These videos

 have strengthened my TikTok community and generated incredible

 brand loyalty for my cookies. I have found that the public wants to

 connect with the stories of the people who make their products instead of

 just buying from faceless corporations, and TikTok allows me to get my

 story out there in front of millions of people.

       10.   I enjoy creating videos in the TikTok app because the process

 is simple and intuitive. I use TikTok LIVE several times a week, which

 allows me to interact with my followers in real time and answer customer

 questions. I enjoy “going live” to share updates on everything from the

 cookie business to milestones in my children’s lives to coping with grief

 and figuring out next steps—and to answer questions and receive

 feedback from my followers in real time.           Because of the close-knit


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 community that I have developed on TikTok, I feel comfortable being

 vulnerable and expressing myself on the app, which is not the same

 experience I have had on other social media platforms, where there is

 more pressure to filter and sanitize one’s life to convey an unrealistic

 image of perfection.

      11.   The TikTok app also has certain tools that foster community,

 such as a separate “Friends Page” for users to connect specifically with

 people whom they follow. This allows me a unique channel to connect

 more deeply with other bakers and small-business owners and creators.

 For example, I have used this page to ask for advice on how to find work-

 life balance as a fellow creator.

      12.   I have tried posting my TikTok videos on Instagram, but have

 not had anywhere near the same success. While I have 2.2 million

 followers on TikTok, I only have about 85,000 on Facebook, and about

 50,000 on Instagram, despite posting content on each platform. In fact,

 for approximately the past year, I have posted the exact same videos on

 all three platforms, but they have performed much better on TikTok. For

 example, I posted a video on June 3, 2024 on TikTok about my attempt

 to make cookie butter, and it got approximately 5.4 million views,


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 compared to about 500,000 on Instagram and about 1,900 views on

 Facebook. See Multimedia Upload at Sexton Video C.3 I believe this

 success is related to TikTok’s ability to get my content in front of new

 viewers and specific communities that are most likely to resonate with

 it—such as mothers and other baking afficionados.          Instagram and

 Facebook, by contrast, seem better suited for sharing my content with

 people I already know—such as friends, family, and neighbors—instead

 of exposing it to a diverse group of people I have never met from all over

 the world.

       13.    A ban on TikTok would greatly impact me.            I would be

 stripped of the vibrant community of TikTok followers who have

 consistently supported me throughout grief and the early days of

 parenthood, as well as celebrated my successes. I worked very hard to

 build this community, and could not replicate it on other platforms, as I

 have already tried and failed to do.




       3
         A public link to this video is available here:
 https://www.tiktok.com/t/ZPRK71Cpj/. A public link to the same video
 on Instagram is available here:
 https://www.instagram.com/p/C7xUJIUA092/. The same video is also
 available on my Facebook page here:
 https://www.facebook.com/chloesgiantcookies/.
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       14.   If TikTok was no longer available, I also would have to find

 another source of income and a different way of communicating to the

 public about my cookie company. I cannot think of a replacement for the

 free platform that TikTok provides me for sharing the intimate details of

 running my small business (as well as my personal life) that have created

 such a large and loyal brand following. Because my videos do not get

 anywhere near the same reach on Instagram or Facebook, I would likely

 need to rely on spending money to promote my content, which would still

 probably not get it in front of the same audience. As the owner of a small

 business, I don’t have the capital needed to effectively promote the

 company through traditional marketing streams to anywhere near the

 same level that TikTok affords me for free. I worry that, without TikTok,

 I may well have to close the cookie business that has brought me so much

 joy and fulfillment these past few years.

       15.   Even if a U.S. version of TikTok were still available, I would

 lose access to my international followers.     Interacting with women,

 mothers, and others from other countries has given me valuable insights

 and information over the years. I also enjoy consuming content from




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 abroad for entertainment purposes. If I could only interact with other

 Americans, my world would be much smaller.

       16.   I do not agree with the government’s stated justifications for

 the Act. I do not feel unsafe when I use TikTok—if anything, this law

 makes me feel unsafe by directly threatening my future and the

 community I have worked so hard to build.

       I declare under penalty of perjury that the foregoing is true and

 correct.



       Signed in Memphis, Tennessee this 18th day of June, 2024.




                                                    Chloe Joy Sexton




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                                     )
  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

           DECLARATION OF KIERA SPANN IN SUPPORT OF
               PETITIONERS’ BRIEF ON THE MERITS

 I, Kiera Spann, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I recently graduated from college in Delaware, and moved to

 Charlotte, North Carolina, where I work in fundraising.

      3.    In 2020, I was studying political science in college and

 learning about the American government and political concepts in a more

 straight-forward way than I had seen presented in the media. I started

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 creating TikTok videos around this time to share thoughts and insights

 with the public in a format that was easy to understand. I found it

 incredibly rewarding to bring bipartisan information to the public in a

 digestible way so that everyone could understand politics and vote in an

 informed manner. My content resonated with others, and by the end of

 2020, I had acquired approximately half a million TikTok followers.

      4.    The next year, when I was a sophomore in college, one of my

 classmates experienced a brutal assault in which she was choked

 unconscious, blinded with spray paint, and thrown down a flight of stairs

 by another student. I felt that the university failed to adequately address

 this crime, so I attended a small protest of about 50 people that some of

 my classmates organized after the victim was released from the hospital.

 At the event, I was horrified to see observers laughing and a heavy police

 presence. I started filming the event and posted it on TikTok.

      5.    That video received about nine million views and was covered

 by major national news stations. It brought much-needed attention to an

 incident that the university—in my opinion—was trying to sweep under

 the rug. I also organized a second protest that was attended by over 1,000

 people in the Newark area.       Ultimately, the perpetrator was held


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 accountable in court and my community undertook meaningful reforms,

 results which I credit (at least in part) to the exposure flowing from my

 video and the resulting media coverage. For example, the university

 repaired broken safety lights on campus, and university law enforcement

 upgraded the emergency alert system to include off-campus sexual

 violence. Additionally, some fraternities required their members to have

 closed cans available at their parties to avoid the possibility of drugging

 party-goers’ beverages. I was also able to start survivor support groups

 and had conversations with state legislators about potential Title IX

 safety reforms in Delaware. I was amazed to see the power of TikTok to

 inspire and accelerate real change in my community.

      6.    I continue to create videos on TikTok to support survivors of

 domestic violence and sexual assault and to advocate for reforms in this

 area. As a survivor of assault myself, this topic is very important to me.

 I am fulfilled by using TikTok for purposes such as spreading the reforms

 we enacted at my university to other schools. I also continue to create

 TikTok videos about news and politics and now partner with a variety of

 non-profits to spread awareness about issues such as criminal justice




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 reform and healthcare access. Finally, I use TikTok for entertainment

 and to post reviews of books that I’m reading.

       7.   The survivor community that I have found on TikTok is unlike

 anything I have ever experienced. I have connected with survivors and

 advocates all over the world—bonding over and grieving our shared

 experiences while learning from our differences. For example, almost 20

 percent of my followers are from outside the United States—many in the

 United Kingdom, Canada, and Australia. I receive numerous TikTok

 messages from women in these and other countries, sharing their stories

 of pain, resilience, and change. Some young women reach out to me to

 ask for advice about what they can do to make their college campuses

 safer. And other times, when I post a video on TikTok about a particular

 assault, my comment section explodes with sympathy and empathy for

 the survivor and others sharing their own similar experiences.

       8.   I have not been able to develop this kind of community on any

 other social media app. Some other apps make it very difficult to talk

 about issues such as sexual assault by flagging such videos as violating

 community standards or terms of service—even when they are not

 graphic or descriptive. This makes it all but impossible to create an


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 organic community among survivors where they can process their

 experiences without having to resort to code words or self-censorship. On

 TikTok, by contrast, I am able to consistently connect with the survivor

 community, and some of my videos about supporting survivors or

 changing policies around assault and domestic violence have been my

 most widely viewed.

       9.    I have tried posting the same or similar content on other apps,

 but have not had anywhere near the same success. While I have over

 770,000 followers on TikTok, I only have about 9,200 on Instagram and

 just 741 on YouTube.      I consistently get far greater engagement on

 TikTok and exposure to new viewers who are likely to find my content

 interesting. TikTok also allows me to monetize my content, which I

 cannot currently do on Instagram with my number of followers. I make

 approximately half of my income from creating videos on TikTok (either

 through the Creator Rewards Program or brand deals), although my first

 priority has always been helping to grow and strengthen my community.

       10.   Around the time of former-President Trump’s 2020 executive

 order banning TikTok, I asked my TikTok followers to start following me

 on other social media platforms. However, I only got a few hundred


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 additional followers on Instagram, even though I had about half a million

 followers on TikTok at the time. I know it would be practically impossible

 to create the same following and community on another platform.

      11.   One of the practical things that I love about TikTok is how

 easy it is to edit my videos either in the TikTok app or using CapCut,

 another app that focuses on video editing and features. I can edit and

 upload a TikTok video in a matter of minutes—whereas it usually takes

 me hours to edit a YouTube video. Some of the video editing tools in other

 apps are not user-friendly, but TikTok and CapCut make it very easy to

 get my speech out there.

      12.   I also enjoy using certain TikTok tools like adding pictures

 and screenshots to my videos (which allows me to reference and comment

 on them while I narrate in the foreground). See, e.g., Multimedia Upload

 at Spann Video A.1 And I sometimes use the TikTok LIVE feature if I

 want to connect with my followers in real-time over some breaking news.



 1
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 Court’s Box.com file repository a set of TikTok videos as part of the
 record. A public link to this particular TikTok video is also available here:
 https://www.tiktok.com/@famousblonde/video/7327088157323824427?la
 ng=en.

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       13.   I also enjoy consuming content on TikTok. I often watch

 content on TikTok accounts dedicated to covering news, political

 education, and books, as well as on the accounts of other sexual assault

 survivors. I find TikTok to be one of the most authentic and timely

 sources where you can hear diverse and organic perspectives instead of

 the more curated and potentially biased accounts from mainstream

 media and even from other social media platforms. For example, during

 the April 2023 protests in Paris over the retirement age, French TikTok

 creators shared powerful on-the-ground footage of the protests and

 interviews with other French citizens about the retirement issue. When

 I searched for “France” on my TikTok account during this time, this kind

 of valuable footage popped up. But when I searched for “France” on

 Instagram during the same time period, the leading results were of the

 Eiffel Tower and other tourist content. This is just one example of how

 TikTok provides a more authentic, realistic, and organic experience than

 the other apps. Below are true and correct screenshots comparing these

 images that I saw on TikTok (left) as compared to Instagram (right) as of

 April 21, 2023.




                                    7
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               TikTok                          Instagram




      14.   I find TikTok to be the most timely place to learn about

 current events. I always hear about news from TikTok first—it can


                                   8
                                                         Addendum - 59
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 sometimes be days or even longer before news on TikTok trickles down

 to the other social media platforms. The virality of TikTok and its ability

 to send speech out to broad audiences with incredible speed is

 unparalleled.

       15.   A ban on TikTok would impact me very much, as I would lose

 my ability to share information and perspectives with hundreds of

 thousands of people around the country and the world. The Act would

 thus deprive me of access to a critical forum for connecting with the

 communities that I have carefully cultivated over the past few years,

 especially the sexual assault advocacy community. The Act would also

 be an enormous hindrance to the work I do in advocating for further

 reform—such as trying to implement the changes from my university at

 other schools.

       16.   Even if TikTok was still available in the U.S. but sold to

 another company, I would still be affected because I would lose my ability

 to connect with and learn from the international community, which is a

 big part of my TikTok experience. I also worry that, if forced to divest,

 TikTok’s new owner may make changes to the app that will

 fundamentally alter my experience—just as we saw happen when Elon


                                     9
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 Musk bought Twitter.        Twitter used to be a great space to obtain

 information; now, it is a nightmare to use because the algorithm was

 altered and I see content on the “For You Page” that I do not like or find

 interesting. This shows how much a new owner of a platform can change

 the programming of the product and thus, the public’s experience of the

 app.

        17.   For example, right now, TikTok is unique because it does not

 allow paid advertising by individual politicians—thus, the main political

 content on the app is created and controlled by users. If TikTok’s new

 owner started allowing more paid political advertising, then the

 algorithm would be subject to the agendas of any number of politicians.

        18.   I do not find the government’s stated justifications for the Act

 to be compelling. To me, it seems clear that the Act is not about data

 security—if it was, then Congress would have passed a law affecting all

 technology platforms, not singling out TikTok. Rather, I think the Act is

 about control, and the government passed it because they are scared of

 how much power TikTok gives American citizens to amplify their voices

 and have their stories and opinions heard. It would be devastating for

 our democracy to ban such a tool.


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 I declare under penalty of perjury that the foregoing is true and correct.

      Signed in Charlotte, North Carolina this 18th day of June, 2024.




                                                           Kiera Spann




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                     )
  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

  DECLARATION OF CHRISTOPHER TOWNSEND IN SUPPORT OF
           PETITIONERS’ BRIEF ON THE MERITS

 I, Christopher Townsend, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I live with my family in Philadelphia, Mississippi.

      3.    I served in the U.S. Air Force for six years as a cryptologic

 language analyst. I am deeply patriotic, and my political views are

 informed by my time in the Air Force and the respect that I have for

 others who have done and continue to do the same.

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       4.   Today, I run a registered non-profit called Stay in That Word

 Ministries, which I founded to promote biblical literacy through fun and

 interactive quizzes. I am also a successful hip-hop artist, and I write,

 record, and perform music to express my spiritual beliefs and my

 conservative political views.

       5.   I was inspired to join TikTok in 2019 because I was

 experimenting with video editing and wanted to try making videos with

 TikTok’s green screen feature. From the beginning, I found that TikTok’s

 unique features and tools allowed me to express my ideas creatively.

 TikTok’s editing tools were especially conducive to creating videos

 sharing my views on politics and current events. For example, one of the

 first videos I made and shared was a “rebuttal” to a video I saw by

 another TikTok user discussing then-President Trump’s policy proposal

 to limit food stamps. I believe that TikTok users benefit from hearing

 differing points of view, so I responded to the video using the “stitch” tool,

 which allowed me to play a segment of the original video and then add

 my commentary. I received a lot of positive and encouraging comments

 from people who agreed with me, so I began to post more videos

 responding to and commenting on articles, news stories, and current


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 events. I would not have been able to create such engaging videos on

 other social media platforms in part because at the time they lacked some

 of the same editing capabilities. Even today, while other social media

 apps have tried to mimic TikTok’s editing tools, I find the experience on

 TikTok to be much more natural and intuitive.

       6.   My experience on TikTok has differed from my experience on

 other social media platforms in other important ways. I was used to

 being overwhelmed with vitriol in response to my political posts on other

 platforms, such as on Facebook and Instagram. But on TikTok, my

 videos quickly started gaining traction with other users on the app. With

 TikTok’s distinct culture allowing me to speak freely and share my

 authentic opinions, I began to connect with people from all over the

 country. This led me to create content specifically for TikTok that I would

 not share on other platforms. In particular, when I share opinions that

 might be considered more controversial, I am comfortable sharing those

 on TikTok, but do not share them on Facebook or Instagram because I

 know I will just be shouted down. There are also types of content, such

 as lip-syncing videos or other joke content, that are specific to the TikTok

 culture, which I enjoy creating with my patriotic, political, and Christian


                                      3
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 messages but do not resonate on other platforms. See, e.g., Multimedia

 Upload at Townsend Video A.1

       7.   On TikTok, I have developed a vast following and community

 far beyond what I ever attained on Facebook or Instagram. For example,

 I have approximately 2.5 million followers on TikTok, but only 1.9 million

 on Facebook, and 298,000 on Instagram, despite sharing some of the

 same videos on both platforms. Even though I have a lot of Facebook

 followers, I get more engagement on my videos on TikTok on average

 than I do on Facebook. I believe this is because TikTok’s algorithm

 ensures that users with similar interests are likely to see my videos in

 their TikTok “For You Page.” I am inspired to continue creating and

 sharing videos because I know that they are likely to be seen by those

 most interested and those less likely to be hostile to my work. In that

 way, TikTok opens the door to build community and connection and

 exchange ideas with other Christians and conservative-minded people, or


       1
        In compliance with the Court’s June 3, 2024 Procedures
 Regarding Submission of Audio or Video Files, the Petitioners have
 uploaded to the Court’s Box.com file repository a set of TikTok videos as
 part of the record. A public link to this particular TikTok video is also
 available here:
 https://www.tiktok.com/@tophertownmusic/video/7350397476077178143
 ?lang=en.
                                       4
                                                             Addendum - 66
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 with people interested in learning more about the Bible and my political

 point of view.

        8.   In 2020, I was invited by several other Christian and

 conservative TikTok creators to help develop the Conservative Hype

 House, an account run by a collective of creators who discuss and debate

 views on current events from a conservative perspective and take turns

 posting videos to the collective’s followers. I contributed content to the

 Conservative Hype House in addition to regularly posting videos on my

 own.

        9.   Now, I primarily use TikTok to carry out the mission of Stay

 in That Word Ministries, which I created to encourage a deeper

 understanding of the Bible and its relevance in our lives and to inspire a

 lifelong love of learning and exploration of faith. I developed quizzes

 about the stories, principles, and teachings of the Bible, and I create

 videos interviewing and quizzing people (mostly strangers) on their

 knowledge. I share these lighthearted videos with my TikTok followers.

 By making biblical literacy accessible and engaging, I aim to foster a

 community of individuals committed to living out the values and

 principles taught in the Bible in their daily lives. In my experience,


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TikTok is the best platform for this content because, as described above,

the algorithm will push it to new and interested users, which is vital to

my mission of increasing biblical literacy and knowledge of Christian

teachings.

      10.    I started to earn enough income through TikTok to become a

full-time creator in August 2020. Since then, I have earned substantial

income on TikTok directly, mostly through the Creator Rewards Program

and some brand partnerships. I also recently had the chance to co-author

a book because of my TikTok presence.

      11.    TikTok also paved the way for my success in other areas. For

example, I am a hip-hop artist, and my music addresses topics such as

my faith, patriotism, and political views. My music really took off when

I started sharing it on TikTok. Before, my music was much less well-

known, even though I had shared it on Instagram, Facebook, and

YouTube; one of my songs would not even reach 1,000 streams in a year.

      12.    Finally, I had my first major commercial success with my song

called “The Patriot,” which I released in December 2020.           I heavily

pushed this song on TikTok, which I believe played a critical role in

making it go viral. TikTok allowed me to use song excerpts in my videos


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 that included information about the musical community’s use of that

 song–which other apps did not allow at the time. The song reached No.

 1 on the Billboard Rap Digital Song Sales in February 2021, and has been

 streamed over 22 million times on Spotify alone. I have also had other

 songs climb the Billboard Charts, and my music has now been streamed

 over 100 million times. I earn substantial income every month from

 music streams. I strongly believe this is partly a result of TikTok helping

 my music reach the audiences with whom it most resonates. The success

 of my music is dependent on my ability to share it on TikTok, and I fear

 that if I no longer have access to the app, my music career will be

 damaged.

       13.   I also enjoy collaborating with other musical artists on

 TikTok. For example, I created a TikTok “duet” on top of a clip from a

 military cadence theme song that another musical artist, MJ Hanks, had

 posted on TikTok. See Multimedia Upload at Townsend Video B.2 I then

 reached out to him over TikTok to collaborate further in creating a new

 song, which ended up being featured in a film produced by Denzel


       2
        A public link to this TikTok video is also available here:
 https://www.tiktok.com/@tophertownmusic/video/7245424033091620142
 ?lang=en&q=i%20left%20my%20home%20topher&t=1718496326699.
                                      7
                                                              Addendum - 69
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 Washington. In my experience, TikTok fosters collaboration among the

 musical community in a way that other apps do not.

      14.   Another reason that I have had a much more positive

 experience on TikTok than on platforms such as Instagram, Facebook,

 and YouTube, is that I trust the platform more than I trust others.

 Facebook and Instagram often suggest content that does not at all align

 with my interests or values, and my content on these apps does not tend

 to reach as many people. Those it does reach sometimes respond in an

 aggressive and angry manner, and I have experienced both spam and

 harassment. TikTok’s algorithm, on the other hand, has allowed me to

 express myself and communicate with others whose friendship I have

 come to value greatly, without facing the same aggression, anger, and

 backlash I have faced on other platforms. I also like that TikTok allows

 me to use the “Following” page that centers my experience on the creators

 that I choose to follow.

      15.   TikTok has also allowed me to dive deeper into other interests

 and discover new ones. For example, I follow gamers and creators who

 share their knowledge and tips—even on obscure topics like taking care

 of a lawn. In addition to getting interesting and valuable information


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 from these creators, many of them have also begun to engage with my

 content about religion and values.       This kind of cross-pollination of

 interests on TikTok creates even more opportunities to learn and build

 communities with multiple overlapping shared interests.

       16.   I am extremely worried about how a TikTok ban would impact

 me and my family. TikTok has brought great value to my life—not just

 financially, but also because it allows me to express myself and share

 ideas with others to an extent that I have not experienced on any other

 platform. Because my experience on other platforms has been so

 different, I do not think it would be possible to replicate my TikTok

 network elsewhere. I would lose a space for expressing myself that has

 come to mean so much to me.

       17.   Even if TikTok is sold to a U.S. company, I am concerned that

 the Act will cause me to lose the ability to express myself to—and see

 content from—creators from all over the world. I have followers from all

 over the world, including in Switzerland, Australia, New Zealand,

 Scotland, Ireland, Ghana, and South Africa. I also have an especially

 large following among Christians in Kenya, who engage with my Bible

 quizzes and other Christian content. I am concerned that the Act will


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 cause me to lose contact with these groups.

       18.   As a veteran and an American who values free speech, I find

 it disturbing that the government is taking such an extreme step to close

 a forum for expression for so many Americans based on concerns for

 which they have not shared any evidence.           I see the Act as an

 unacceptable infringement on speech, and it betrays the values that I

 sought to protect while serving in the armed forces.

       I declare under penalty of perjury that the foregoing is true and

 correct.

       Signed in Philadelphia, Mississippi this 17th day of June, 2024.




                                               Christopher Townsend




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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                     )
  BRIAN FIREBAUGH, CHLOE             )
  JOY SEXTON, TALIA CADET,           )
  TIMOTHY MARTIN, KIERA              )
  SPANN, PAUL TRAN,                  )
  CHRISTOPHER TOWNSEND,              )
  and STEVEN KING,                   )
                        Petitioners, )
                                     )
       v.                            )
                                     )
  MERRICK B. GARLAND, in his         )
  capacity as United States Attorney )
  General,                           )
                                     )
                        Respondent
                  .

           DECLARATION OF PAUL TRAN IN SUPPORT OF
              PETITIONERS’ BRIEF ON THE MERITS

 I, Paul Tran, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I live in Atlanta, Georgia with my wife and children.

      3.    In 2018, my wife and I founded a skincare company called

 Love and Pebble.     My wife struggled with acne as a teenager and

 experimented with remedies made out of home items like fruit and

 yogurt, as she did not have enough money for expensive acne products.

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 This hobby turned into a lifelong interest, and when we met, we combined

 my background in pharmaceuticals with her passion for healthy and

 affordable skincare to create a company focused on using powerful plant-

 based ingredients to invigorate skin. Our most popular product, the

 “beauty pop,” is made with superfoods like papaya, banana, turmeric, and

 aloe vera—and then frozen into a small popsicle that is rolled over the

 face, melting into an innovative face mask.

      4.    This company means the world to me and my wife, and we

 have made immense personal, emotional, and financial sacrifices to keep

 it afloat. For the first few years, the business teetered on the brink of

 failure, as we struggled to market our products through traditional

 advertising and other social media apps. Especially in the competitive

 skincare market, breaking through to the public was very difficult. At

 several junctures, it seemed inevitable that we would have to shut down

 the company.

      5.    Around the spring of 2021, we started making TikTok videos

 about our story as married small business owners. Our videos are deeply

 personal—for example, we sometimes show my wife’s mother using the

 beauty pops or include a fun video featuring our young daughter. See


                                    2
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 Multimedia Upload at Tran Video A.1 Eventually, some of these videos

 went viral on TikTok. Pretty soon, we were selling out of inventory and

 receiving unbelievable opportunities, such as offers to appear on

 television shows like “Shark Tank” and “The Today Show.” TikTok truly

 invigorated our company and saved it from collapse.

       6.   More recently, in 2023, after losing money on Facebook

 advertisements for years, we decided to launch our skincare line in

 TikTok Shop (TikTok’s integrated e-commerce solution that allows

 sellers to sell products directly on the platform). This move has been life-

 changing for us. Our sales have gone up substantially, and we now sell

 approximately 90% of our products through TikTok Shop.             We also

 partner with approximately 2,000 TikTok “affiliates”—other TikTok

 creators who make videos about our products to share with their

 audiences on the app in exchange for a share in our revenue. This

 partnership also accelerated our sales.


       1
         In compliance with the Court’s June 3, 2024 Procedures
 Regarding Submission of Audio or Video Files, the Petitioners have
 uploaded to the Court’s Box.com file repository a set of TikTok videos as
 part of the record. A public link to this particular TikTok video is also
 available here:
 https://www.tiktok.com/@loveandpebble/video/6992298700928240902?la
 ng=en.
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      7.    The TikTok Shop Affiliate Program provides opportunities for

 the affiliates to create expressive videos about products they love and to

 generate substantial income.     For example, one of our top affiliates

 supports herself with the income that she earns from creating and

 posting TikTok videos supporting our and other businesses.            These

 income opportunities are particularly valuable for stay-at-home parents

 and other caretakers who can support their families from their homes.

 My wife and I have become very close with some of our affiliates, and get

 a lot of satisfaction from working together and helping each other.

      8.    In addition to the product sales, I am very proud of the strong

 community that my wife and I have found and built on TikTok. We have

 connected with TikTok users and creators all over the world and bonded

 over our love of skincare, as well as our experiences as parents, small

 business owners, and Asian Americans. This community is one of my

 favorite things about TikTok.

      9.    We have tried using other platforms to promote our small

 business and create a similar sense of community, but have not had

 anywhere near the same success as on TikTok. For example, Love and

 Pebble has 142,800 followers on TikTok, but only 23,300 on Instagram


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 and a mere 1,700 on Facebook, despite regularly posting on each

 platform. Sometimes we post the same content from TikTok on other

 platforms, but we still get paltry engagement compared to what we see

 on TikTok. I believe this is because TikTok is able to share our content

 with more new viewers and specifically to those who are likely to be

 interested in skincare. We have also tried selling our products through

 Amazon and our own company website, but no platform has come close

 to the level of access, visibility, and community that TikTok has provided

 us.

       10.   My wife and I create the videos that we post on TikTok. She

 usually stars in the video while I film and edit. I like to film and edit

 directly in the TikTok app or using CapCut, as these tools make the

 process very easy and straightforward. We and our affiliates also enjoy

 using the “duet” and “stitch” features on the app because they provide

 ways for us to connect with other creators and followers and strengthen

 our community. For example, we recently posted a duet with a short film-

 creator in celebration of Asian American and Pacific Islander Heritage

 Month, in which one of the Love and Pebble creators is using a beauty

 pop while watching a short film about powerful intergenerational bonds


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 between Asian American children and their immigrant parents. See

 Multimedia Upload at Tran Video B.2 As a minority-owned company, it

 is important for us to share our stories—and TikTok provides us with the

 tools and the platform to do so.

      11.   In addition to promoting my small business and engaging

 with my community, I also enjoy using TikTok for personal creative

 expression and exploration.     I created a personal TikTok account to

 document experiences with my young daughter, and to serve as a kind of

 chronological scrapbook of memories from her growing up. This account

 is something that I do just for us; I do not care how many people see it.

 But this content has provided the unexpected benefit of allowing me to

 connect with other “girl dads” on TikTok, and I enjoy following their

 accounts for inspiration on fun things I can do with my daughter as well

 as to remind me to enjoy the little moments.

      12.   I also love seeing content on TikTok about martial arts,

 specifically Brazilian jiu-jitsu—a hobby that I am passionate about. I

 like to follow other practitioners and fans of the sport to learn techniques


 2
    A public link to this TikTok video is also available here:
 https://www.tiktok.com/@loveandpebble/video/7375287727786528046?la
 ng=en.
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                                                               Addendum - 78
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 and laugh over entertaining memes. Additionally, TikTok is a wonderful

 resource   for   researching   travel,   new    restaurants,       and   other

 experiences—and I rely on it when I’m planning excursions with my

 family.

      13.   A ban of TikTok would greatly impact me and my family.

 Because we sell 90 percent of our products over TikTok, the small

 business that we worked so hard to create and sustain would take a

 devastating blow. We would lose all of the momentum and traction that

 we have built through TikTok over the years and would need to start

 from scratch. We tried traditional marketing (and marketing on other

 social media platforms) for years to no avail; and I see no reason why

 things would be different now. This change would not only affect my

 immediate family, but also the TikTok affiliates who rely partly on

 income from our revenue shares to provide for themselves and their

 families. Some of these affiliates have already contacted us, expressing

 concern about what will happen to them if the Act takes effect. In

 addition to the substantial financial loss, I would be incredibly saddened

 to lose access to the invaluable community that my wife and I have built




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on TikTok—a community that has celebrated our wins and supported us

through our lowest moments.

     14.   Even if a U.S. version of TikTok were available, my wife and

I would lose our international followers. We really enjoy learning from

and engaging with our foreign followers on TikTok.



I declare under penalty of perjury that the foregoing is true and correct.

     Signed in Atlanta, Georgia this 18th day of June, 2024.




                                                          Paul Tran




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              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                       )
    BRIAN FIREBAUGH, CHLOE             )
    JOY SEXTON, TALIA CADET,           )
    TIMOTHY MARTIN, KIERA              )
    SPANN, PAUL TRAN,                  )
    CHRISTOPHER TOWNSEND,              )
    and STEVEN KING,                   )
                          Petitioners, )
                                       )
         v.                            )
                                       )
    MERRICK B. GARLAND, in his         )
    capacity as United States Attorney )
    General,                           )
                                       )
                          Respondent.

          DECLARATION OF AMBIKA KUMAR IN SUPPORT OF
               PETITIONERS’ BRIEF ON THE MERITS

   I, Ambika Kumar, declare as follows:

        1.    I am a partner in the law firm Davis Wright Tremaine LLP,

   have been admitted to practice before this Court, and am counsel for

   Petitioners in this matter.    I make this declaration from personal

   knowledge and a review of the files and records in this matter.

        2.    Attached as Exhibit 1 is a true and correct copy of a document

   titled Gallagher, Bipartisan Coalition Introduce Legislation to Protect

   Americans From Foreign Adversary Controlled Applications, Including



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 TikTok     and      dated     March      5,     2024,       available     at

 https://selectcommitteeontheccp.house.gov/media/press-

 releases/gallagher-bipartisan-coalition-introduce-legislation-protect-

 americans-0. Unless otherwise specified below, my office obtained a copy

 of the exhibits to my declaration, including this article, by visiting the

 websites listed in each paragraph.

       3.   Attached as Exhibit 2 is a true and correct copy of a document

 titled Thanks a Billion! and dated September 27, 2021, available at

 https://newsroom.tiktok.com/en-us/1-billion-people-on-tiktok.

       4.   Attached as Exhibit 3 is a true and correct copy of an article

 titled TikTok Has Changed America and dated April 19, 2024, available

 at

 https://www.nytimes.com/interactive/2024/04/18/business/media/tiktok-

 ban-american-culture.html.

       5.   Attached as Exhibit 4 is a true and correct copy of an article

 titled TikTok Extends Video Length Limit to 10 Minutes and dated

 March 2, 2022, available at https://tech.co/news/tiktok-extends-video-10-

 minutes.




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        6.    Attached as Exhibit 5 is a true and correct copy of an article

   titled TikTok is testing 15-minute uploads with select users and dated

   October 23, 2023, available at https://techcrunch.com/2023/10/23/tiktok-

   testing-15-minute-uploads/.

        7.    Attached as Exhibit 6 are true and correct copies of the main

   pages of   Massachusetts      Senator    Ed   Markey’s TikTok      account

   (@senmarkey), available at https://www.tiktok.com/@senmarkey; and

   Nevada Senator       Jacky Rosen’s TikTok account (@jackyrosenhq),

   available at https://www.tiktok.com/@jackyrosenhq.

        8.    Attached as Exhibit 7 is a true and correct copy of the main

   page of the Biden-Harris HQ’s TikTok account (@bidenhq), available at

   https://www.tiktok.com/@bidenhq.

        9.    Attached as Exhibit 8 is a true and correct copy of the main

   page of former President Donald J. Trump’s TikTok account

   (@realdonaldtrup),                       available                       at

   https://www.tiktok.com/@realdonaldtrump.

        10.   Attached as Exhibit 9 is a true and correct copy of an article

   titled Biden just signed a bill that could ban TikTok. His campaign plans


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   to stay on the app anyway and dated April 25, 2024, available at

   https://apnews.com/article/biden-tiktok-campaign-account-young-voters-

   ban-d351ccb17c59890473af1685a0a756f3.

          11.        Attached as Exhibit 10 is a true and correct copy of an excerpt

   of      the            document        titled     Effects,       available      at

   https://support.tiktok.com/en/using-tiktok/creating-videos/effects.

          12.        Attached as Exhibit 11 is a true and correct copy of an article

   titled A TikTok ban could also end short-form video as we’ve come to

   know         it      and     dated     April    29,     2024,      available    at

   https://www.washingtonpost.com/technology/2024/04/29/tiktok-capcut-

   ban-impact/.

          13.        Attached as Exhibit 12 is a true and correct copy of a

   document titled How TikTok Recommends Videos #ForYou and dated

   June 18, 2020, available at https://newsroom.tiktok.com/en-us/how-

   tiktok-recommends-videos-for-you.

          14.        Attached as Exhibit 13 is a true and correct excerpt of the

   document titled How TikTok recommends content, available at




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   https://support.tiktok.com/en/using-tiktok/exploring-videos/how-tiktok-

   recommends-content.

         15.   Attached as Exhibit 14 is a true and correct copy of an article

   titled How TikTok’s algorithm made it a success: ‘It pushes the

   boundaries’     and     dated   October     24,      2022,     available       at

   https://www.theguardian.com/technology/2022/oct/23/tiktok-rise-

   algorithm-popularity.

         16.   Attached as Exhibit 15 is a true and correct copy of an article

   titled How TikTok Changed the Social Media Game With Its Unique

   Algorithm      and     dated    August     16,      2022,      available       at

   https://www.entrepreneur.com/science-technology/how-tiktoks-unique-

   algorithm-changed-the-social-media/431804.

         17.   Attached as Exhibit 16 is a true and correct copy of an article

   titled TikTok is A Beacon of Democracy In The Social Media Landscape

   and         dated       April      19,      2024,            available         at

   https://www.forbes.com/sites/jamesbroughel/2024/04/19/tiktok-is-a-

   beacon-of-democracy-in-the-social-media-hellscape/?sh=7c0849fd1278.




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        18.     Attached as Exhibit 17 is a true and correct copy of an article

   titled TikTok: Are influencers panicking about bans? We asked three to

   weigh       in        and    dated    January   19,    2023,    available    at

   https://finance.yahoo.com/news/tiktok-are-influencers-panicking-about-

   bans-we-asked-three-to-weigh-in-205625085.html.

        19.     Attached as Exhibit 18 is a true and correct copy of an article

   titled This man has gone viral on TikTok for dancing to Nelly Furtado in

   front of his bathroom sink and dated February 25, 2022, available at

   https://thetab.com/uk/2022/02/25/nelly-furtado-dancing-man-tiktok-

   bathroom-mirror-sink-dance-viral-hype-house-duet-

   242233?callback=in&code=MTY1MZVMMWYTODLMMS0ZODY5LWIX

   ZMUTOWU2OWI3MGFMMJMX&state=72696ec2e1454f25a85cc26148

   8cfe46.

        20.     Attached as Exhibit 19 is a true and correct copy of an article

   titled Alex Consini Is TikTok’s 2024 It Girl and dated January 9, 2024,

   available        at     https://www.bustle.com/life/who-is-alex-consani-model-

   tiktok.




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         21.    Attached as Exhibit 20 is a true and correct copy of an article

   titled 21 popular BookTok books and why they went viral and dated

   March               15,             2023,               available             at

   https://www.today.com/popculture/books/booktok-tiktok-books-list-

   rcna70986.

         22.    Attached as Exhibit 21 is a true and correct copy of an article

   titled Want to get on BookTok? Tips from creators on how to find the best

   book recommendations and dated December 18, 2023, available at

   https://www.usatoday.com/story/entertainment/books/2023/12/18/what-

   is-booktok-user-tips/71825963007/.

         23.    Attached as Exhibit 22 is a true and correct copy of an article

   titled Instagram courts TikTok users with algorithm revamp and dated

   May               3,             2024,                 available              at

   https://www.bbc.com/news/articles/cmm3yn4pr17o.

         24.    Attached as Exhibit 23 is a true and correct copy of an article

   titled YouTube is adding a slew of new TikTok-like features to Shorts and

   dated          August          1,           2023,           available         at




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   https://www.theverge.com/2023/8/1/23814549/youtube-shorts-live-video-

   feed-effects-monetization-tiktok.

        25.    Attached as Exhibit 24 is a true and correct copy of an article

   titled TikTok Clones: How Spotify, Instagram, Twitter And More Are

   Copying Features Like The ‘For You’ Page and dated March 13, 2023,

   available                                                                at

   https://www.forbes.com/sites/conormurray/2023/03/13/tiktok-clones-

   how-spotify-instagram-twitter-and-more-are-copying-features-like-the-

   for-you-page/?sh=75846fd34473.

        26.    Attached as Exhibit 25 is a true and correct copy of an article

   titled How TikTok beat Instagram and dated February 2, 2023, available

   at         https://www.businessinsider.com/why-instagram-cant-compete-

   tiktok-videos-algorithm-influencers-engagement-2023-2.

        27.    Attached as Exhibit 26 is a true and correct copy of an article

   titled The Consequences of Elon Musk’s Ownership of X and dated

   October             27,             2023,           available            at

   https://www.nytimes.com/interactive/2023/10/27/technology/twitter-x-

   elon-musk-anniversary.html.


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          28.    Attached as Exhibit 27 is a true and correct copy of an article

   titled Why can’t Twitter and TikTok be easily replaced? Something called

   ‘network      effects’     and   dated   April     12,   2023,     available   at

   https://www.npr.org/2023/04/12/1168232177/twitter-tik-tok-replaced-

   network.

          29.    Attached as Exhibit 28 is a true and correct copy of a portion

   of TikTok’s website with video titled Data Privacy Tech Security,

   available at https://usds.tiktok.com/.

          30.    Attached as Exhibit 29 is a true and correct copy of an article

   titled TikTok offered an extraordinary deal. The U.S. government took a

   pass         and     dated       May         29,    2024,        available     at

   https://www.washingtonpost.com/technology/2024/05/29/tiktok-cfius-

   proposal-rejected/.

          31.    Attached as Exhibit 30 is a true and correct copy of a

   document titled Bergman Supports Bipartisan Legislation to Stop

   Foreign Adversaries from Owning Social Media Companies and dated

   March                13,             2024,               available             at




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   https://bergman.house.gov/news/documentsingle.aspx?DocumentID=121

   7.

         32.    Attached as Exhibit 31 is a true and correct copy of an article

   titled It could be months before the Senate takes up a TikTok bill, despite

   warnings about China and dated March 20, 2024, available at

   https://www.nbcnews.com/politics/congress/months-senate-takes-tiktok-

   bill-warnings-china-rcna144301.

         33.    Attached as Exhibit 32 is a copy of an Instagram video posted

   by Illinois State Representative Raja Krishnamoorthi on April 25, 2024.

   In compliance with the Court’s June 3, 2024 Procedures Regarding

   Submission of Audio or Video Files, Petitioners have uploaded this file to

   the Court’s Box.com file repository.            It is also available at

   https://www.instagram.com/congressmanraja/reel/C6MDKANiEMG/.

         34.    Attached as Exhibit 33 is a true and correct copy of a

   document titled Congressman Flood Votes to Stop TikTok Propaganda

   and         dated      March        13,       2024,       available         at

   https://flood.house.gov/media/press-releases/congressman-flood-votes-

   stop-tiktok-propaganda.


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        35.    Attached as Exhibit 34 is a true and correct copy of a

   document titled Congressman Russ Felcher’s Statement on the Passage

   of   H.R.   7521    and    dated    March     14,   2024,    available   at

   https://fulcher.house.gov/press-releases?ID=D9D9757F-0EE1-49E5-

   9F2C-5A4F7DDD8717.

        36.    Attached as Exhibit 35 is a true and correct copy of an article

   titled Banning TikTok would hit China’s tech ambitions and deepen the

   global digital divide and dated April 24, 2024, available at

   https://www.cnn.com/2024/04/24/tech/tiktok-ban-bytedance-split-the-

   world-further-intl-hnk.

        37.    Attached as Exhibit 36 is a true and correct copy of an article

   titled TikTok Ban Threatens Creator Economy: ‘There Is No Way I’d

   Have a Functioning Business’ The social media app gave them financial

   success. Could it all go away and dated May 29, 2024, available at

   https://www.cnet.com/personal-finance/banking/advice/tiktok-ban-

   threatens-creator-economy-there-is-no-way-id-have-a-functioning-

   business/#outlawing-tiktok-could-turn-lives-upside-down.




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           38.     Attached as Exhibit 37 is a true and correct copy of a portion

   of Fame Recording Studio’s website titled Our History, available at

   https://famestudios.com/our-history/.

           39.     Attached as Exhibit 38 is a true and correct copy of an article

   titled The Legendary Muscle Shoals Sound and dated September 20,

   2003,         available    at    https://www.npr.org/2003/09/20/1437161/the-

   legendary-muscle-shoals-sound.

           40.     Attached as Exhibit 39 is a true and correct copy of an article

   titled The Defiant Spirit of the Muscle Shoals Sound In the racially

   segregated American South of the 1960s, a small group of producers and

   artists built a studio that brought black and white soul artists together,

   and blended rock & roll, soul and R&B to create a regional sound that

   went      nationwide       and   dated    March    1,   2016,    available   at

   https://daily.redbullmusicacademy.com/2016/03/muscle-shoals-feature.

           41.     Attached as Exhibit 40 is a true and correct copy of a

   document titled Remarks by President Biden and Vice President Harris

   at a Campaign Event | Philadelphia, PA and dated May 29, 2024,

   available         at      https://www.whitehouse.gov/briefing-room/speeches-


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   remarks/2024/05/29/remarks-by-president-biden-and-vice-president-

   harris-at-a-campaign-event-philadelphia-pa/.

         42.    Attached as Exhibit 41 is a true and correct copy of an article

   titled Biden, Trump each pitch existential fear of the alternative to voters

   and         dated      January          12,        2024,       available      at

   https://thehill.com/homenews/campaign/4403845-biden-trump-both-

   pitch-existential-fear-of-the-alternative-to-voters/.

         43.    Attached as Exhibit 42 is a true and correct copy of an article

   titled Biden asks Americans to recommit to democracy in Normandy cliff

   speech       and      dated      June         7,     2024,      available     at

   https://www.reuters.com/world/biden-condemn-isolationism-cliffs-

   normandy-echo-reagan-2024-06-07/.

         44.    Attached as Exhibit 43 is a true and correct copy of an article

   titled This is what Russian propaganda looks like in 2024 and dated June

   6, 2024, available at https://www.npr.org/2024/06/06/g-s1-2965/russia-

   propaganda-deepfakes-sham-websites-social-media-ukraine.

         45.    Attached as Exhibit 44 is a true and correct copy of a

   document titled Threat Posed by TikTok and dated March 6, 2024, that


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   was emailed to me on June 11, 2024, by Daniel Tenny of the United

   States Department of Justice.

   I declare under penalty of perjury that the foregoing is true and correct.

        Executed in Seattle, Washington this 19th day of June, 2024.



                                                      /s/ Ambika Kumar
                                                      Ambika Kumar




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                     EXHIBIT 1




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            Gallagher, Bipartisan Coalition Introduce
            Legislation to Protect Americans From
            Foreign Adversary Controlled
            Applications, Including TikTok
            Image
            March 5, 2024
            Press Release

            WASHINGTON, D.C.-- Rep. Mike Gallagher (R-WI) and Rep. Raja
            Krishnamoorthi (D-IL), Chairman and Ranking Member of the House Select
            Committee on the Strategic Competition Between the United States and the
            Chinese Communist Party, today introduced the Protecting Americans from
            Foreign Adversary Controlled Applications Act. The bill prevents app store
            availability or web hosting services in the U.S. for ByteDance-controlled
            applications, including TikTok, unless the application severs ties to entities like
            ByteDance that are subject to the control of a foreign adversary, as defined by
            Congress in Title 10.

            In addition, the bill creates a process for the President to designate certain,
            specifically defined social media applications that are subject to the control of
            a foreign adversary—per Title 10—and pose a national security risk. Designated
            applications will face a prohibition on app store availability and web hosting
            services in the U.S. unless they sever ties to entities subject to the control of a
            foreign adversary through divestment.



 Document title: Gallagher, Bipartisan Coalition Introduce Legislation to Protect Americans From Foreign Adversary Controlled Applications,
 Including TikTok | Select... Capture URL: https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-
 introduce-legislation-protect-americans-0
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            The bill is co-led by House Republican Conference Chair Elise Stefanik (R-NY),
            Rep. Kathy Castor (D-FL), Rep. Bob Latta (R-OH), Rep. Andre Carson (D-IN ),
            Rep. Kevin Hern (R-OK), Rep. Seth Moulton (D-MA), Rep. Chip Roy (R-TX), Rep.
            Mikie Sherrill (D-NJ), Rep. Neal Dunn (R-FL). Rep. Haley Stevens (D-MI), Rep.
            Ralph Norman (R-SC), Rep. Jake Auchincloss (D-MA), Rep. Kat Cammack (R-FL),
            Rep. Ritchie Torres (D-NY), Rep. John Moolenaar (R-MI), Rep. Shontell Brown
            (D-OH), Rep. Ashley Hinson (R-IA), and Rep. Josh Gottheimer (D-NJ). The bill is
            co-sponsored by Rep. Dusty Johnson (R-SD), Rep. Nancy Pelosi (D-CA), Rep.
            Carlos Gimenez (R-FL), Rep. Anna Eshoo (D-CA), Rep. Darin LaHood (R-IL), Rep.
            Chris Deluzio (D-PA), Rep. Timothy Walberg (R-MI), Rep. Marc Veasey (D-TX),
            Rep. Rick Allen (R-GA), Rep. Elissa Slotkin (D-MI), Rep. John Joyce (R-PA), Rep.
            Andrea Salinas (D-OR), Rep. Earl "Buddy" Carter (R-GA), Rep. Kweisi Mfume (D-
            MD), Rep. August Pfluger (R-TX), Rep. Hillary Scholten (D-MI), Rep. Dan
            Crenshaw (R-TX), Rep. Chris Pappas (D-NH), Rep. John Curtis (R-UT), Rep.
            Jonathan Jackson (D-IL), Rep. Brian Fitzpatrick (R-PA), Rep. Jim Costa (D-CA),
            Rep. Mark Alford (R-MO), Rep. Jake LaTurner (R-KS), Rep. Stephanie Bice (R-
            OK), Rep. Scott Fitzgerald (R. WI), Rep. Mike Lawler (R-NY), Rep. Claudia Tenney
            (R-NY), Rep. Jeff Van Drew (R-NJ), Rep. Mike Kelly (R-PA), Rep. Cory Mills (R-FL),
            Rep. Gus Bilirakis (R-FL), Rep. Brad Sherman (D-CA), Rep. Vern Buchanan (R-
            FL), and Rep. Victoria Spartz (R-IN).

            “This is my message to TikTok: break up with the Chinese Communist Party or
            lose access to your American users,” said Chairman Gallagher. “America’s
            foremost adversary has no business controlling a dominant media platform in
            the United States. TikTok’s time in the United States is over unless it ends its
            relationship with CCP-controlled ByteDance.”

            “So long as it is owned by ByteDance and thus required to collaborate with the
            CCP, TikTok poses critical threats to our national security. Our bipartisan
            legislation would protect American social media users by driving the
            divestment of foreign adversary-controlled apps to ensure that Americans are
            protected from the digital surveillance and influence operations of regimes
            that could weaponize their personal data against them. Whether it’s Russia or
            the CCP, this bill ensures the President has the tools he needs to press
            dangerous apps to divest and defend Americans’ security and privacy against
            our adversaries,” said Ranking Member Krishnamoorthi.

            “TikTok is Communist Chinese malware that is poisoning the minds of our next
            generation and giving the CCP unfettered access to troves of Americans’ data.
            I am proud to join Chairman Mike Gallagher in introducing the Protecting
            Americans from Foreign Adversary Controlled Applications Act to finally ban
            TikTok in the United States. From proliferating videos on how to cross our

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 Including TikTok | Select... Capture URL: https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-
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            border illegally to supporting Osama Bin Laden’s Letter to America,
            Communist China is using TikTok as a tool to spread dangerous propaganda
            that undermines American national security. We cannot allow the CCP to
            continue to harness this digital weapon," said Rep. Stefanik.

            "In this day and age, we all know about the vast benefits – and vast risks – of
            our most popular social media platforms. Ensuring that foreign adversaries do
            not have the ability to control what we see and hear online is an important
            piece of what should be a bipartisan effort to make social media safer for all
            Americans. This bill would ensure that Tik Tok is no longer controlled, even
            indirectly, by the Chinese Communist Party, and does so in a responsible way,
            that doesn’t take away Americans’ favorite social media apps," said Rep.
            Moulton.

            “The dangerous link between TikTok and the Chinese Communist Party has
            never been more apparent. When TikTok’s CEO came before the Energy and
            Commerce Committee last year, he readily admitted to me that ByteDance
            employees in China have access to U.S. user data. This alone should serve as a
            wake-up call and alarm every single American – whether they’re actively
            engaged on TikTok or not. TikTok and its ties to Communist China poses a clear
            and present danger to U.S. national security and is threatening the privacy of
            millions of Americans. I’m proud to help lead the bipartisan Protecting
            Americans from Foreign Adversary Controlled Applications Act, which will ban
            the app from the United States if TikTok is not divested by the Chinese
            Communist Party,” said Rep. Latta.

            “All Americans deserve access to information and media platforms that are
            free from the influence of hostile foreign actors like the Chinese Communist
            Party. But here are the facts: TikTok has been used by the CCP to silence free
            speech and dissent in the United States and abroad, to undermine democracy
            and our values, and to promote propaganda that is favorable to autocratic
            rulers like President Xi. In New Jersey, TikTok has banned users for posting
            content that brought awareness to the CCP’s horrific genocide and forced
            labor of the Uyghur people. It’s nothing short of dangerous that the CCP
            controls a key source of information for millions of Americans – including so
            many teenagers and children who’ve seen their mental health harmed by the
            app. This bipartisan legislation should be passed immediately to protect our
            democracy, our national security, and our kids,” said Rep. Sherrill.

            “The House Select Committee on the CCP and the House Energy & Commerce
            Committee have found alarming proof of our data being shared with our
            adversaries via applications developed by ByteDance,” said Rep. Dunn. “I even

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            asked the TikTok CEO point blank if ByteDance has spied on Americans on
            behalf of the CCP, and his response was ‘I don’t think spying is the right way to
            describe it.’ This is outrageous. I took an oath to protect the American people
            and I’m proud to join this effort to ban applications that can be utilized and
            abused by our adversaries.”

            "Social media corporations are attention-fracking American youth and
            corroding our democracy. Congress needs to get tough on them -- but we can
            only do that if these corporations are subject to U.S. law. TikTok needs to
            answer to Congress, not Xi Jinping," said Rep. Auchincloss.

            “TikTok is owned by the Chinese Communist Party and we cannot allow the
            CCP to indoctrinate our children. This strong bipartisan legislation is an
            important step forward in making sure social media apps owned by foreign
            adversaries are prohibited from doing business in America. I encourage all
            Americans using TikTok to strongly consider the personal risks of having their
            data owned by the Chinese Communist Party and hope they will stop using
            the app as this bipartisan legislation moves forward,” said Rep. Moolenaar.

            "Congress can no longer afford to ignore the growing threat posed by foreign
            adversary-controlled applications like TikTok," said Rep. Torres. "TikTok not
            only jeopardizes our national security but also threaten our fundamental
            freedoms by allowing adversaries to surveil and influence the American public
            under the guise of a social media platform. The Protecting Americans from
            Foreign Adversary Controlled Applications Act is a crucial step in safeguarding
            our nation. We must act swiftly and decisively to protect our citizens and
            preserve our sovereignty."

            "Not only is the CCP-controlled TikTok an immense national security risk to our
            country, it is also poisoning the minds of our youth every day on a massive
            scale. China is our enemy, and we need to start acting like it. I am proud to
            partner with Representatives Gallagher and Krishnamoorthi on this bipartisan
            bill to ban the distribution of TikTok in the US. This legislation will make our
            country better off and more secure," said Rep. Roy.

            “The Chinese Communist Party has made it abundantly clear that it is willing
            to leverage technology to collect data on our children and all US citizens. Using
            TikTok, China has the ability to control what an entire generation of kids sees
            and consumes every single day,” said Rep. Gottheimer. “It’s time we fight back
            against TikTok’s information invasion against America’s families. In the wrong
            hands, this data is an enormous asset to the Chinese Communist Party — a
            known adversary — and their malign activities.”

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             “Any technology—apps, software, language models—owned by foreign
             adversaries are unequivocal threats to our national security. We have every
             right to protect Americans’ constitutional rights, data privacy, and national
             security, and it’s only become clear over the last several years how dangerous
             these foreign-owned tech platforms truly are,” said Rep. Cammack. “As a
             member of the Energy & Commerce Committee which deals heavily in the
             telecom and tech space, I don’t take this decision lightly. I’m grateful to
             Chairman Gallagher and the Select Committee on the CCP for spearheading
             this effort and I look forward to the bipartisan support this effort will garner to
             keep the U.S. safe from malign influence, adversarial infiltration, espionage,
             and beyond.”

             “TikTok is CCP spyware used by the regime to steal Americans’ data and push
             harmful propaganda, including content showing migrants how to illegally
             cross our Southern Border, supporting Hamas terrorists, and whitewashing
             9/11. Bottom line: TikTok needs to completely cut ties with the CCP or it will no
             longer be available in the United States. It is past time to dismantle the CCP’s
             top propaganda and spyware tool,” said Rep. Hinson.

             Summary: Applications like TikTok that are controlled by foreign adversaries
             pose an unacceptable risk to U.S. national security. Such apps allow our
             adversaries to surveil and influence the American public, both through the
             data we produce and the information we share and consume.

             This legislation addresses the threat in two ways. First, it prevents app store
             availability or web hosting services in the U.S. for ByteDance-controlled
             applications, including TikTok, unless the application severs ties to entities like
             ByteDance that are subject to the control of a foreign adversary, as defined by
             Congress in Title 10. The bill provides ByteDance with a window of time to
             divest, and the bill’s prohibitions do not apply if it completes a qualified
             divestment. It also creates a process for the President to designate certain,
             specifically defined social media applications that are subject to the control of
             a foreign adversary—per Title 10—and pose a national security risk. Designated
             applications will face a prohibition on app store availability and web hosting
             services in the U.S. unless they sever ties to entities subject to the control of a
             foreign adversary through divestment. This bill addresses the immediate
             national security risks posed by TikTok and creates a process for the President
             to protect Americans’ national security and privacy from foreign adversary-
             controlled applications in the future.

             Click HERE to read text of the bill.


  Document title: Gallagher, Bipartisan Coalition Introduce Legislation to Protect Americans From Foreign Adversary Controlled Applications,
  Including TikTok | Select... Capture URL: https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-
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  Capture timestamp (UTC): Wed, 19 Jun 2024 14:06:46 GMT



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            What the Bill Does:

                  Incentivize Divestment of TikTok: Unless TikTok is fully divested such that it is no longer
                   controlled by a PRC-based entity, the application will face a prohibition in the U.S. from app
                   store availability and web hosting services until such time as a divestment occurs.
                  Address the National Security Risks Posed by Other Applications Controlled by Foreign
                   Adversary Companies: Establishes a process for the President to designate other foreign
                   adversary controlled social media applications—as defined by statute—that shall face a
                   prohibition on app store availability and access to web hosting services in the United States
                   unless they sever ties to the foreign adversary-controlled company. The President may
                   exercise this authority if an application presents a national security threat, has over one
                   million annual active users, and is under the control of a foreign adversary entity, as defined
                   by statute.
                  Empower Users to Switch Platforms: Designated applications must provide users with a
                   copy of their data in a format that can be imported into an alternative social media
                   application. All users would be able to download their data and content and transition to
                   another platform.

            What the Bill Does Not Do:

                  Punish Individual Social Media Users: No enforcement action can be taken against
                   individual users of an impacted app.
                  Censor Speech: This legislation does not regulate speech. It is focused entirely on foreign
                   adversary control—not the content of speech being shared. This bill only applies to
                   specifically defined social media apps subject to the control of foreign adversaries, as
                   defined by Congress.
                  Impact Apps That Sever Ties to Foreign Adversary-Controlled Entities: An app, including
                   TikTok, that severs ties with entities subject to the control of a foreign adversary is not
                   impacted by any other provision of the bill.



            TikTok




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                     EXHIBIT 2




                                                        Addendum - 102
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          d' TikTok

            All                          I Community ] Sep 27, 2021                                                                        Share this post
            News                                                                                                                           00
            Product

            Community
                                         Thanks a billion!
            Safety
            Company


               United States




                                         At TikTok, our mission is to inspire creativity and bring joy. Today, we're celebrating t hat
                                         mission and our global TikTok community. More than 1 billion people around t he world
                                         now come to TikTok every month to be entertained as they learn, laugh, or discover
                                         something new. We're honored to be a home for our immensely diverse community of
                                         families, small businesses, and creators who transform into our favorite stars.

                                         TikTok has become a beloved part of life for people around t he world because of the
                                         creativit y and authenticity of our creators. Our global community is remarkable in its
                                         ability to reach millions of people, across generations. From music, food, beauty and
                                         fashion to art, causes, and everyt hing in between, culture truly starts on TikTok.

                                         Whether you're in Singapore, Sao Paolo, Stockholm, or Seattle, we celebrate YOU - the
                                         creators who inspire us, the artists who launch chart-breaking albums, the brands who
                                         help us discover and connect with products we love, the communities who lift us up, and
                                         all the people who keep us laughing and dancing.

                                         Thank you for making this journey so special.

                                         - The TikTok Team




Document title: Thanks a billion! | TikTok Newsroom
Capture URL: https://newsroom.tiktok.com/en-us/1-billion-people-on-tiktok
Capture timestamp (UTC): Fri, 14 Jun 2024 15:22:58 GMT                                                                                                       Page 1 of 3

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          d' TikTok




                                                                 @tikto k O
                                                                    1 billion   people on TikTok! Thank you
                                                                 to our global community 'If;.
                                                                 Il original sound - TikTok




                              I News I Jun 13, 2024

                              Announcing Off the Record: A New
                              TikTok Series Featuring Today's Top
                              Artists
                              Behind-the- scenes content series providing an inside look at making an
                              album Today, TikTok is unveiling Off t he Record, a new series that...




                              I Company I Jun 3, 2024

                              ByteDance Appoints John Rogovin
                              as Global General Counsel
                              ByteDate announced today that John Rogovin will join the Company as
                              Global General Counsel, which will encompass oversight of TikTok. Joh...




                              I Community I May 31, 2024

                              #ForYourPride: Celebrating
                              TikTok's Visionary LGBTQIA+
                              Community
                              The LGBTQIA+ community has always been a beacon of creativity,
                              advocacy, and joy - cultivating spaces for people to show up...
                                                                                                                                      G

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          ·d° TikTok
                              Artists
                              Behind- the-scenes content series providing an inside look at making an
                              album Today, TikTok is unveiling Off t he Record, a new series that...




                              I Company I Jun 3, 2024

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                     EXHIBIT 3




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                                                                                                                          Fi@iliiiiit jfj    Account v




                                                                         AN INCOMPLETE GUIDE




                                                     Love, Hate or Fear It,
                                   TikTok Has Changed America




                                           lntrodudion by Sapna Maheshwari
                                           April 19, 2024


                                            ffi Shace f" llarticle   0 @ @3
                                           Hear Times writers tell the stories of how TikTok has influenced culture


                                               ►
                                           Has there ever been an app more American seeming than TikTok,
                                           with its messy democratic creativity, exhibitionism, utter lack of
                                           limits and vast variety of hustlers?

                                           And yet, of course, TikTok is not American, which is the whole
                                           reason that in March, the House of Representatives passed a bill
                                           with broad bipartisan support that would force the Chinese owners
                                           of the video-app juggernaut to either sell to a non-Chinese owner
                                           or face a ban. Lawmakers say it's a national security threat, and
                                           that the Chinese government could lean on its owner, ByteDance,
                                           to obtain sensitive U.S. user data or influence content on the app to




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                                           of the video-app juggernaut to either sell to a non-Chinese owner
                                           or face a ban. Lawmakers say it's a national security threat, and
                                           that the Chinese government could lean on its owner, ByteDance,
                                           to obtain sensitive U.S. user data or influence content on the app to
                                           serve its interests.
                                           There's a long road of legislation, deal making and legal challenges
                                           ahead before TikTok could be forced to change ownership or even
                                           be banned. The Senate would need to pass the legislation - which
                                           it may do as soon, now that the House has bundled it into a foreign
                                           aid packag~. It would have to survive lawsuits from TikTok and
                                           creators. Buyers would have to clear regulatory approval. And
                                           after all that, Beijing could simply block a deal.

                                           But imagining what a United States without TikTok would look like
                                           throws into sharp relief just how much the app has worked its way
                                           into American culture.


                                           Roughly 170 million Americans use
                                           TikTok. That's half the population of the
                                           United States.


                                           TikTok, which officially landed in the United States in 2018, was the
                                           most downloaded app in the country, and the world, in 2020, 2021
                                           and 2022. It wasn't that the elements of it were so new -
                                           compelling videos from randos had long been a staple of American
                                           pop culture - but TikTok put the pieces together in a new way.
                                           Unlike Instagram, Facebook or Snapchat, TikTok didn't build itself
                                           around social connections. Its goal is pure, uncut entertainment.
                                           The algorithm ingested every data point it could from what users
                                           skipped, liked or shared - and spat it directly into the
                                           maddeningly habit-forming For You Page. Fans whispered
                                           reverently that it knew them better than they knew themselves.

                                           Here are 19 ways of understanding how TikTok became part of
                                           American life. The music America listens to, the movies it sees,
                                           what conspiracies it believes, how it can make or break a product's
                                           success, who it defines as a celebrity - all of it has been influenced
                                           by TikTok, for good and bad. Even if you've never opened the app,
                                           you"ve lived in a culture that exists downstream of what happens
                                           there.

                                           Hollywood                 News                      Conspiracy Theories
                                           Trends                    Music                     National Security
                                           School                    The other Apps            Your Brain
                                           Fashion                   Cooking                   Political Campaigns
                                           Shopping                  Market Power              Mental Health
                                           Privacy                   Advice                    Your Bank




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                                           there.

                                           Hollywood                 News                      Conspiracy Theories
                                           Trends                    Music                     National Security
                                           School                    The other Apps            Your Brain
                                           Fashion                   Cooking                   Political Campaigns
                                           Shopping                  Market Power              Mental Health
                                           Privacy                   Advice                    Your Bank
                                           Your Screen




                                                    It Became
                                               Hollywood's Favorite
                                               Marketing Machine
                                                                        By Brooks Barnes




                                           Insular, slow-changing Hollywood responded to TikTok's arrival in
                                           2018 in typical fashion: complete dismissal. We're way too busy
                                           making pictures to worry about some new short-form video app.

                                           Then came denial. (This thing is just another fad.) Next, fear.
                                           (Teenagers and young adults are never going to the movies
                                           again I)
                                           But there's a plot twist: Hollywood has come to see TikTok as
                                           indispensable.

                                           "Anyone But You;' a Sony romantic comedy starring Sydney
                                           Sweeney and Glen Powell, arrived to a piddly $8 million in ticket



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                                           (Teenagers and young adults are never going to the movies
                                           again!)
                                           But there's a plot twist: Hollywood has come to see TikTok as
                                           indispensable.

                                           "Anyone But You," a Sony romantic comedy starring Sydney
                                           Sweeney and Glen Powell, arrived to a piddly $8 million in ticket
                                           sales over Christmas weekend. The movie turned into a full-
                                           fledged hit ($219 million) after TikTok users (at the urging of Sony)
                                           began making videos of themselves re-enacting the credit
                                           sequence.




                                           TikTok also served as a ticket-selling machine for "M3gan," a
                                           Universal-Blumhouse horror movie about a sassy robot that has
                                           spawned a new franchise; "Wonka;' which debuted in December
                                           and collected $632 million; and the Barbenheimer box office
                                           phenomenon, otherwise known as "Barbie;• with $1.4 billion, and
                                           "Oppenheimer;' with about $1 billion. Rote glamour shots and
                                           insipid interviews - ye olde studio publicity tools - don't work on
                                           TikTok; users want behind-the-scenes "realness." Hence
                                           "Oppenheimer" stars goofing in a hotel hallway before a premiere,
                                           and pink-clad "Barbie" stars cavorting on the floor with llliP.llies.
                                           "Now that studios have figured out how to harness TikTok, the last
                                           thing they want is for it to go dark;' said Sue Fleishman, a former
                                           Universal and Warner Bros. executive who is now a consultant.
                                           "That would actually be a big problem."




                                                        It's Gen Z's
                                                       Walter Cronkite
                                                                      By Sapna Maheshwarl




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                                                        1tsuenLs
                                                       Walter Cronkite
                                                                      By Sapna Maheshwari




                                           Recently, V Spehar has posted TikTok videos telling viewers what
                                           they might have missed from President Biden's State of the Union
                                           address, the first 15 actions that former President Donald J. Trump
                                           said he would take if he's re-elected in November and Caitlin
                                           Clark's WNBA starting salary.
                                           Mx. Spehar posts to more than three million followers from the
                                           handle @UnderTheDeskNews and films many clips lying on the
                                           floor, a gimmick that began as an effort to differentiate from the
                                           authoritative tone of traditional television news anchors. The style
                                           of communication has resonated enough to make Mx. Spehar a
                                           regular at White House briefings with social media influencers.

                                           News aggregation and analysis accounts like Mx. Spehar's are
                                           shaping the discourse about current events in the United States,
                                           especially among young people. They're a modern version of old-
                                           school bloggers - users respond to the personal tone, and the
                                           editorializing. (Some creators have even built followings simply by
                                           reading print news articles to their followers.)
                                           Pew Research Center has found that about one-third of 18- to 29-
                                           year-olds say they get news regularly on the platform, far
                                           outpacing people in other age groups.


                                           In 2023, about 14% of American adults
                                           said they regularly got news on TikTok,



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                                           Pew Research Center has found that about one-third of 18- to 29-
                                           year-olds say they get news regularly on the platform, far
                                           outpacing people in other age groups.


                                           In 2023, about 14% of American adults
                                           said they regularly got news on TikTok,
                                           compared with just 3% percent in 2020.


                                           Other sites have similar draws. Roughly 16 percent of all American
                                           adults get their news from Instagram, and a similar amount from
                                           X. Far more people consume news on Facebook and YouTube.

                                           The appeal ofTikTok and other social sites has made mainstream
                                           outlets nervous, and has raised some concerns around accuracy
                                           and context as original reporting is funneled through other
                                           accounts. The Wall Street Journal has more than 340,000 followers
                                           on TikTok, while The New York Times has nearly 630,000 -
                                           numbers that pale in comparison with the followings of individual
                                           commentators like Mx. Spehar.




                                                 It Supercharges
                                               Conspiracy Theories
                                                                          By Tiffany Hsu




                                                                           #conspiracy




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                                                                           #conspiracy



                                           Several dentists recently took to TikTok to debunk a conspiracy
                                           theory: that toothpaste tubes were printed with secret codes
                                           signaling their true ingredients to powerful people in the know.
                                           Their efforts garnered far fewer views than the video that offered
                                           up the theory in early January. Not counting all the times the post
                                           was referenced in videos by other TikTok users, it has been seen
                                           more than seven million times in less than three months.
                                           Tall tales are common on TikTok, where a flimsy patchwork of
                                           assumptions and coincidences - often concerning the schemes of
                                           a nefarious echelon of elites - is illustrated by dramatic images
                                           generated by artificial intelligence and spooky musical tracks.
                                           (Other such hits include false theories that President Joe Eiden
                                           rigged the S!!per Bowl in favor of the Kansas City Chiefs or that
                                           Justin Bieber had signaled he was a victim of PizzaGate. False
                                           allegations of voter fraud also abound.)
                                           Abbie Richards, a misinformation researcher who studies the
                                           TikTok ecosystem, said that such posts thrive because of the
                                           platform's potent recommendation algorithms and its low barrier
                                           to entry.
                                           TikTok allows users to earn money from their videos through tools
                                           such as its creator rewards program and livestream subscriptions.
                                           Conspiracy theories, which draw high engagement, are one of the
                                           most profitable categories, said Ms. Richards, a senior video
                                           producer at the liberal watchdog group Media Matters.
                                           "It's like candy for your brain - it tells a story that simplifies the
                                           world in a way that feels good to you;' she said.


                                           A quarter of American adults who use the
                                           app create 98% of its videos.


                                           The toothpaste theory was promoted by two young men known for
                                           conspiratorial content, including popular posts about satanic hit
                                           men and Britney Sgears. They claimed that the colored dots on
                                           toothpaste tubes correspond to all-natural, medicinal or chemical
                                           ingredients.
                                           The post was quickly reposted, copied and stitched into reaction
                                           videos. Some came from dentists, who explained that the dots were
                                           actually used during the toothpaste packaging process to help



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                                           conspiratorial content, including popular posts about satanic hit
                                           men and Britney Spears. They claimed that the colored dots on
                                           toothpaste tubes correspond to all-natural, medicinal or chemical
                                           ingredients.
                                           The post was quickly reposted, copied and stitched into reaction
                                           videos. Some came from dentists, who explained that the dots were
                                           actually used during the toothpaste packaging process to help
                                           guide manufacturing equipment to properly cut and seal the tubes.
                                           That conspiracy theory is not new - they rarely are on TikTok.
                                           Colgate, a major toothpaste manufacturer, addressed the color
                                           patch rumor last year and said that "as much as we love cracking
                                           secret codes, this one actually has nothing to crack because it's
                                           entirely untrue."
                                           Even silly rumors, however, can spin out from TikTok into real-
                                           world harms. The baseless concerns that store-bought toothpaste
                                           tubes might hide toxic ingredients reignited recommendations to
                                           opt instead for unproven and potentially damaging homemade
                                           options.




                                                          It Spawned a
                                                         Zillion Trends.
                                                           Or, at Least,
                                                              1rends"
                                                             "T
                                                                   By Madison Malone Kircher




                                           Including but certainly not limited to: Butter boards, ~ water,
                                           blueberry milk nails, unexpected red, lucky girl syndrome, first-
                                           time-cool syndrome, bed rotting, 75 soft, 75 cozy. bookshelf wealth,
                                           loud budgeting, broccoli freckles, strawberry makeup, glazed donut
                                           skin, latte makeup, cowboy copper hair, old money blonde,
                                           expensive brunette, orang~peel theory. guiet luxury. stealth
                                           wealth, tomato girl summer, indie sleaze, coguette, looksmaxxing,
                                           male perms, vanilla girl, clean girl, soft girl, coastal grandma,
                                           coastal cowgirl, low-high visual weight makeup, ~_y__:girl
                                           mocktails, fluffy coffee, shrimp tree, girl math, girl dinner, mob
                                           wife, clowncore, balletcore, Barbiecore, rgyalcore, corecore.




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                                           mocktails, fluffy coffee, shrimp tree, girl math, girl dinner, mob
                                           wife, clowncore, balletcore, Barbiecore, rm7alcore, corecore.




                                                            It Got Taylor
                                                            Swift to Defy
                                                              Her Label
                                                                          By Ben Slsarlo




                                                            #newmusic




                                           For the music industry, TikTok has become a potent but
                                           unpredictable promotional outlet, and a vital one in the race to mint
                                           a new hit. Young artists like Olivia Rodrigo and Lil Nas X saw their
                                           popularity explode on the platform, and acts like Fleetwood Mac
                                           have seen decades-old songs get a boost from memes on the app.

                                           But TikTok is also the latest tech platform to draw the anger of the
                                           music industry for low royalty rates. In February, Universal Music
                                           Group, which represents artists like Ms. Rodrigo, Taylor Swift,
                                           Billie Eilish and Drake, withdrew the rights to its music on the app,
                                           saying that TikTok was trying to "bully" the company to accept low
                                           terms.




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                                           saying that TikTok was trying to "bully" the company to accept low
                                           terms.




                                           Within days, millions of TikTok videos using music from Universal
                                           artists went mute, and since then guessing which side would blink
                                           first has become a media-business parlor game.
                                           Last week, however, Ms. Swift - who releases her music through
                                           Universal, but has owned the copyrights to her work since 2018 -
                                           broke ranks and QUt her songs back on TikTok, just ahead of the
                                           release of her next album on Friday. Now the question is, will other
                                           artists will follow.




                                                                    It Might
                                                                  Just Bea
                                                                  Weapon
                                                                       By David E. Sanger



                                           For years I thought TikTok was mostly a parenting problem, and
                                           had only tangential bearing on what I cover: threats to national
                                           security. It took a while - and a lot of conversations with both tech
                                           firms and government officials - for me to become concerned
                                           about the potential that it could also pose a major problem on that
                                           front.

                                           Not because the company's Chinese owners could figure out your
                                           dance-move preferences, but because the algorithm at the core of
                                           the app is wrapped in such mystery.
                                           So what's the issue? The algorithm doesn't belong to TikTok; it is
                                           provided by engineers working for ByteDance, the Chinese
                                           company that controls the platform and develops the code in
                                           enormous secrecy in laboratories around the world, in Beijing,
                                           Singapore and Mountain View, Calif.


                                           No one outside the company knows
                                           exactly what goes into those algorithms.
                                           The Chinese government is intent on keeping it that way. It has
                                           issued regulations that require Beijing's regulators to grant
                                           permission before any ByteDance algorithms can be licensed to




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                                           exactly what goes into those algorithms.
                                           The Chinese government is intent on keeping it that way. It has
                                           issued regulations that require Beijing's regulators to grant
                                           permission before any ByteDance algorithms can be licensed to
                                           outsiders. They are unlikely to do so.

                                           And so, as long as it is written by ByteDance, and can't be picked
                                           apart on the outside, there will always be the risk that it will
                                           become a pipeline for influencing citizens, and thus voters, in
                                           subtle and not-so-subtle ways.
                                           Senator Mark Warner, the chairman of Senate Intelligence
                                           Committee, has noted that because TikTok has emerged as a major
                                           source of news - and because it collects data on users that the
                                           Chinese government could find useful, even crucial - it poses a
                                           serious threat, and could become "the most powerful propaganda
                                           tool ever."


                                           Of course, that threat is mostly
                                           hypothetical at this point.
                                           At least based on what the United States has made public. The
                                           intelligence agencies have been giving closed-door briefings, but
                                           presumably there hasn't been a classified blockbuster, since there
                                           would likely be great pressure to declassify it.

                                           Still, we have seen waves of new influence campaigns flowing out
                                           of China - much of it aimed at nations other than the United
                                           States. While TikTok has not been at the center of those campaigns,
                                           clearly, the Chinese have learned a lot in the past few years,
                                           including from the Russians. (Researchers have also found that
                                           topics commonly suppressed in China, including about the Tibetan
                                           and Uyghur populations, appear to be unusually underrepresented
                                           on TikTok compared with Instagram.)
                                           This is not a problem that would be solved by simply selling
                                           TikTok's operations to an American buyer. Sure, the bill that went
                                           through the House bans a new, Western-owned TikTok from having
                                           any "operational relationship" with ByteDance, "including any
                                           cooperation with respect to the operation of a content
                                           recommendation algorithm." Good luck with that - TikTok would
                                           no longer be TikTok.

                                           The real question is whether anyone gets to look under the hood.
                                           Because to make Americans trust TikTok, the country will need an
                                           early warning system, something that will assure everyone that a
                                           technology that became popular because it generated memes and
                                           celebrates self-expression does not become a conduit for a foreign
                                           government interested in subtly influencing how we vote.




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                                           early warning system, something that will assure everyone that a
                                           technology that became popular because it generated memes and
                                           celebrates self-expression does not become a conduit for a foreign
                                           government interested in subtly influencing how we vote.




                                                       It Turned the
                                                    School Bathroom
                                                     Into a Movie Set
                                                                        By Natasha Singer




                                           Southern Alamance Middle School, a public school in Graham,
                                           N.C., recently came up with a novel way to combat student
                                           distractions from social media. Or at least to curb the phenomenon
                                           that some teachers have dubbed "Toilet TikToks."
                                           The problem: Educators there noticed a spike in the number of
                                           students asking to leave class - sometimes as frequently as nine
                                           times per day - to go to the bathroom, where they made TikTok
                                           videos.
                                           The solution: Administrators decided to remove the bathroom
                                           mirrors that students used to film TikToks and primp for their
                                           close-ups. They also introduced an online system that issues
                                           students digital hall passes when they want to be excused from



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                                           times per day - to go to the bathroom, where they made TikTok
                                           videos.
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                                           mirrors that students used to film TikToks and primp for their
                                           close-ups. They also introduced an online system that issues
                                           students digital hall passes when they want to be excused from
                                           class and that allows administrators to track students' locations.
                                           "Since removing the mirrors,'' administrators wrote in a message
                                           to parents in January, "we have seen a drastic decrease in
                                           bathroom visits from students asking to be excused just to make
                                           videos.''




                                           Toilettoks - a TikTok genre, dating back at least five years, in
                                           which students use school bathrooms as film sets for dance
                                           routines, lip-syncing clips or critiques of unclean lavatories - are
                                           one of the milder social media annoyances for schools.
                                           Across the United States, students have also used school
                                           bathrooms as arenas to stage, film and post videos of bullying,
                                           physical assaults on schoolmates and acts of vandalism.
                                           In March, Alamance-Burlington schools announced that it was
                                           joining dozens of other U.S. districts that have filed lawsuits
                                           accusing social media platforms, including TikTok, of unfairly
                                           ensnaring young people.
                                           "We're seeing the negative impacts of social media on our students
                                           every day,'' Kristy Davis, the acting superintendent of Alamance-
                                           Burlington schools, said. "Their well-being has to be the top
                                           priority.''




                                                        It Took Over All
                                                        the Other Apps
                                                                         By Amanda Hess




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                                           My favorite Instagram account is a collection of TikToks. Curated
                                           by the videographer Leia Jospe. @favetiktoks420 hunts for Gen-Z's
                                           ickiest thirst traps and bleakest acting exercises and delivers them
                                           to me in a Millennial-safe gackag~, uploading them directly to a
                                           social network that I actually use.
                                           By the time TikTok debuted, in 2017, I was already in my 30s and
                                           too old and lazy to work another app into my rotation. Instagram
                                           and Twitter were distracting enough. But now those platforms lie
                                           downstream of TikTok's creative wellspring, waiting for bits of its
                                           most popular content to drift into the open internet. TikToks float
                                           into my friends' Instagram stories, percolate into our group chats,
                                           swirl into my Twitter feed. My phone is always bleating with its
                                           outro sound effect. I rarely open TikTok, but I watch TikToks all the
                                           time.
                                           TikToks let loose a chaotic element into Instagram's internet mall,
                                           and they break the monotony of Twitter's boosted tech-bro threads.
                                           They stock YouTube compilations and spark Facebook debates and
                                           fuel trend pieces.




                                           IfTikTok were to disappear, it would feel, at least for a while, like
                                           the internet's big content spigot had been turned to a trickle. Rival
                                           platforms have tried to remake themselves in TikTok's image -
                                           building in short-form videos, algorithmic timelines and searchable
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                                           If TikTok were to disappear, it would feel, at least for a while, like
                                           the internet's big content spigot had been turned to a trickle. Rival
                                           platforms have tried to remake themselves in TikTok's image -
                                           building in short-form videos, algorithmic timelines and searchable
                                           sound clips - but have failed to reproduce the hypnotic energy of
                                           its perpetual discovery machine. We'd be left with a diluted version
                                           of its secret sauce.
                                           But any network that hopes to capitalize on its own popularity will
                                           disrupt its product. Even as other social media platforms try to
                                           become TikTok, TikTok is trying to become them, lengthening its
                                           videos to compete with YouTube and introducing an e-commerce
                                           platform to "drive meaningful shopping experiences" and rival
                                           Instagram. Eventually some new, inexplicably addictive platform
                                           will rise in its place. And I will rely on the kindness of some slightly
                                           younger strangers to show me what's on it.




                                                               It Mimics a
                                                               Flow State
                                                                        By Dana G. Smith




                                                                            #satisfying               #odd/ysatisfy·
                                                                                                                   mg



                                           Much has been said about the "addictive design" of TikTok. But
                                           what is the social media site actually doing to our brains?
                                           There is very little research looking at what goes on inside people's



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                                           Much has been said about the "addictive design" of TikTok. But
                                           what is the social media site actually doing to our brains?
                                           There is very little research looking at what goes on inside people's
                                           heads while they're using TikTok. But one small study conducted
                                           on Chinese university students used magnetic resonance imaging
                                           to compare brain activity while they watched personalized TikTok
                                           videos ( ones the algorithm had selected based on their past use)
                                           versus generalized ones (videos the app recommended to new
                                           users).

                                           The students had greater activity in several areas of the brain,
                                           including ones associated with reward, attention and processing
                                           social information, while viewing personalized videos. In other
                                           words, the algorithm did its job.




                                           Other social media platforms have been shown to turn on similar
                                           brain regions. So what makes TikTok different? Some experts have
                                           proposed that it can send users into a "flow state": the experience
                                           of being so absorbed in a task that the person loses track of time.
                                           Backing this up, one study found that TikTok users reported
                                           experiencing higher levels of flow than Instagram users.
                                           "Flow" is often associated with work or hobbies - activities that
                                           are challenging enough to be engaging but not frustrating.
                                           Watching videos doesn't require skill the way that many flow-
                                           inducing activities do, yet the app is able to induce the feelings of
                                           enjoyment, concentration and time distortion that are
                                           characteristic of flow - possibly because of the algorithm's
                                           immersive quality.




                                                                It Won
                                                               Overthe
                                                              Snobbiest
                                                              Gatekeeper
                                                                      By Vanessa Friedman




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                                                              Snobbiest
                                                              Gatekeeper
                                                                      By Vanessa Friedman




                                           Is there any more official signal that a business titan has arrived at
                                           the heart of the American social-financial-artistic-political power
                                           nexus than being invited to be an honorary host of the annual Met
                                           Gala, a.k.a. "the party of the year"? Any more glamorous
                                           recognition than being asked to join its convener, the Vogue editor,
                                           Anna Wintour, in the Metropolitan Museum's soaring atrium as the
                                           great and the good of Hollywood, fashion, sports, Wall Street and
                                           Washington swan past?

                                           On May 6, TikTok will be lead sponsor of both the party and the
                                           museum fashion exhibition it celebrates. The company's chief
                                           executive, Shou Chew, has been named an honorary chair of this
                                           year's gala, along with the Loewe designer Jonathan Anderson,
                                           while Ms. Wintour, Zendaya, Bad Bunny, Jennifer Lopez and Chris
                                           Hemsworth are the event's co-chairs.
                                           That placement would put TikTok firmly in the tradition of previous
                                           gala sponsors like Amazon, Instagram and Apple - tech
                                           companies bedazzled by the Old Establishment, which in turn is
                                           bedazzled by their blush of upstart cool.

                                           It is an acknowledgment, if any were needed, of the prominent role
                                           the app has come to play in fashion in a mere few years.




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                                           bedazzled by their blush of upstart cool.
                                           It is an acknowledgment, if any were needed, of the prominent role
                                           the app has come to play in fashion in a mere few years.




                                           It was only in 2021, after all, that Ms. Wintour was criticized for
                                           inviting TikTok stars such as Addison Rae and Dixie D'Amelio to
                                           the party - for somehow cheapening it by catering to the buzzfeed
                                           machine of the smartphone, rather than the elite. After all, not just
                                           anyone can get an invite, even if they can afford the $50,000 price
                                           tag for a seat; Ms. Wintour vets every guest, and the price of
                                           admission has to do with cultural currency even more than actual
                                           currency.
                                           Which is why, of course, TikTok belongs. Despite the fact that all
                                           social media is forbidden inside the party.
                                           Fast-forward three years, and there are more than 75 billion views
                                           associated with the # TikTokfashion hashtag; almost 500 million
                                           with # 2023Gala alone. Luxury brands routinely sign up TikTok
                                           stars as brand ambassadors along with every other kind of star,
                                           hoping to access their audience (received relevance is something
                                           Vogue might be getting out of the association, too). And thus is
                                           created a virtuous - or vicious? - cycle in which TikTok feeds the
                                           gala machine, which feeds TikTok, which is the vicarious
                                           experience that has come to feed us all.




                                                                          By Ellen Barry




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                                           TikTok is a mother lode of mental health content, filled with
                                           compelling first-person accounts of everything from major
                                           depression to selective mutism. Depending on your perspective,
                                           that's either a very good thing - or concerning.

                                           Corey Basch, who analyzed 100 [!O[!Ular TikTok videos with the
                                           hashtag #mentalhealth for a 2022 study, emerged concerned about
                                           the looping effect of the algorithm.
                                           "What's so important and disturbing to recognize is the downward
                                           spiral that users can get swept into;' said Dr. Basch, a professor of
                                           public health at William Paterson University. "If one is drawn to
                                           posts related to despair and anxiety, they can easily spend hours
                                           exposed to repetitive content known as an echo chamber."

                                           The surge of content about mental health has meant that young
                                           people are more likely to self-diagnose before seeing a clinician,
                                           psychiatrists re[!ort. Diagnoses for ADHD and anxiety disorders
                                           shot up during the pandemic years, especially among young
                                           people.
                                           Some researchers have expressed concern about how profit
                                           motives may feed into these trends, since platforms often feature
                                           advertising from app-based mental health services, and
                                           influencers have sponsorship deals with such companies.

                                           "They say we can diagnose you really quick, just take this five-
                                           question quiz and we can send you a prescription in a nice little
                                           box;' said Holly Avella, a Ph.D. candidate at Rutgers University
                                           who has researched mental health and social media.




                                           Researchers also warn that TikTok videos can deliver




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                                           who has researched mental health and social media.




                                           Researchers also warn that TikTok videos can deliver
                                           misinformation. A review of literature published last year found
                                           that around one-fifth of videos mentioning cognitive behavioral
                                           therapy were inaccurate, describing it as ineffective or harmful.
                                           But some users credit the app with breaking open the national
                                           conversation around mental illness.

                                           "You can sit there on your pedestal and pooh-pooh it all you want:•
                                           said Kate Speer, who has used her social media feeds to describe
                                           her experience of serious mental illness. TikTok is helpful for "the
                                           very people who are struggling the most, those who don't have
                                           access to services in the real world and who might even be so
                                           disabled by mental illness that they are locked in their houses."




                                                         It's the Latest
                                                        Campaign Tool
                                                                    By Michael M. Grynbaum




                                                                            #campaign




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                                                                            #campaign



                                           President Biden turned down an opportunity to appear on CBS and
                                           reach tens of millions of potential voters tuning in for this year's
                                           Super Bowl. Instead, he released his first TikTok.

                                           "Chiefs or Niners?" asked a disembodied, youthful-sounding voice.
                                           "TWo great quarterbacks; hard to decide:' replied the president,
                                           casually dressed in a half-zip sweater and khakis. The caption was
                                           "Joi hey guys."

                                           Team Eiden, like most other major politicians, had previously
                                           resisted joining the app because of security concerns related to its
                                           Chinese ownership. (The Donald Trump campaign is not on TikTok,
                                           and Mr. Trump has expressed divergent views about the app,
                                           proposing a ban during his presidency but recently criticizing an
                                           attempt by Congress to curtail its use in the United States.)

                                           Giving in was a nod to the irrefutable importance ofTikTok, where
                                           about 14 percent of American adults regularly get news, in an
                                           election year. There's now a small studio in the Eiden campaign
                                           office in Wilmington, Del., where staff members can film "candid"
                                           videos with the candidate.


                                           62% of Americans between 18- and 29-
                                           years-old use the platform, greater than
                                           the share of that age group that voted in
                                           the last presidential election.


                                           Campaigns have a rich tradition of adapting to the latest
                                           technological fads, from wireless radio to television sets and, more
                                           recently, to social platforms like Facebook and Snapchat. Many of
                                           these efforts share a how-do-you-do-fellow-kids quality to them,
                                           and in an attempt to avoid appearing out of touch, the Eiden
                                           campaign relies on young, digitally fluent aides to host its TikToks.
                                           It works, sometimes. One video claims to have Trump "caught on
                                           camera" making offensive remarks, an attempt to replicate the
                                           amateur spontaneity of many TikToks. (In reality, it's someone's
                                           iPhone aimed at a TV broadcast of a Trump speech.) Other times it
                                           comes across try-hard-y, like the video that dismisses a post by
                                           Representative Jim Jordan using a popular "I Ain't Reading All
                                           That" online meme.

                                           The @bidenhq account, though, is hovering around 299,000
                                           followers - still small beans in the TikTok world. But in a close




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                                           followers - still small beans in the TikTok world. But in a close
                                           race, every Joi counts.




                                                                                                                     By Jordyn Holman




                                           Most months, when Kiara Springs posts on her TikTok account
                                           about mini skirts or linen tops she finds on Amazon, she earns
                                           $10,000 to $12,000 for getting people to buy what she suggests.
                                           During her biggest month, Ms. Springs, 25, raked in $50,000 for her
                                           posts.
                                           TikTok is now a multibillion-dollar shopping experience - and
                                           companies have glommed on. The internet might have killed malls,
                                           but now it is one big mall.
                                           Because the bite-size videos are addictive, and partly because
                                           advertising on the platform is relatively inexpensive for smaller
                                           brands, the app has become a core part of many companies'
                                           marketing plans. Brands say that their videos populated with
                                           everyday people can more easily go viral than on, say, Instagram,
                                           where they often need to pay expensive influencers. And people




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                                           marketing plans. Brands say that their videos populated with
                                           everyday people can more easily go viral than on, say, Instagram,
                                           where they often need to pay expensive influencers. And people
                                           who notice shopping-related content spend more time on TikTok,
                                           according to eMarketer.


                                           The average user spends nearly an hour
                                           - 58 minutes -             per day on the
                                           platform.


                                           Last year, TikTok debuted a prominent shopping feed on the app
                                           that now allows people to buy goods directly from a wide array of
                                           vendors. Some fashion and beauty brands think about the TikTok
                                           content they could make for a product before developing it.

                                           Fiona Co Chan, a co-founder of Youthforia, a beauty and skin care
                                           brand with roughly 190,000 followers on the app, says if she can't
                                           think of 200 TikTok videos that she could make for a product, she'll
                                           likely scrap it entirely.




                                                                               By Santul Nerkar



                                             When a product goes viral on TikTok, those views often translate
                                             directly into increased sales. In some cases, the effect has been
                                                                         dramatic:




                                                                     Stanley tumblers
                                                                 Company revenue last year was




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                                                                  Stanley tumblers
                                                               Company revenue last year was
                                                              $750 million, up from $73 million in
                                                               2019, after the product became a
                                                                     sensation on TikTok.




                                                                        Feta cheese
                                                             Demand jumped 200 percent at one
                                                            grocery chain in 2021, after a recipe
                                                              for baked feta pasta took off and
                                                            amassed more than 20 million views.




                                                                           Cerave
                                                               Sales increased by more than 60
                                                                percent in 2020 after skin care
                                                               became a lockdown pastime and
                                                                 TikTok users discovered the
                                                                     drugstore mainstay.




                                                                  Cat Crack Catnip
                                                                It briefly sold out in 2021 after
                                                              TikTok users posted videos of their
                                                                    cats going crazy for it.




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                                                                     cats going crazy for it.




                                                             Isle of Paradise tanning
                                                                       spray
                                                             It sold out in 48 hours in 2021 after a
                                                                    post about it went viral.




                                                                  Prepdeck kitchen
                                                                  storage products
                                                             They went out of stock in 2021 after
                                                                        going viral.




                                                              It Turned
                                                             Recipes Into
                                                              Concepts
                                                                        By Becky Hughes




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                                           Cooking is different now. One crucial distinction between the hit
                                           recipes of today (like Emily Mariko's salmon and rice bowl) and
                                           those of yesteryear (The Silver Palate's chicken marbella) is the
                                           medium.
                                           Before, a static image was all you had to get the point across in a
                                           recipe, with step-by-step instructions printed in a cookbook.

                                           Now recipes unfold over time. In a 30-second video, there are
                                           obvious visual cues that viewers can absorb, techniques they can
                                           sink their teeth into. The videos depict process, not just stages, and
                                           allow you to jum12-cut your way through a recipe in a few blinks.




                                           But for all the access to techniques and cuisines that TikTok has
                                           provided home cooks, the platform favors concepts, over actual
                                           recipes - ~ggs fried in a 12uddle of 12esto, sandwich fillings choI)Iled
                                           into a homogenous mixture, mini 12ancakes served like cereal. The
                                           most shareable recipes are the ones that you can watch once, then
                                           turn around and make - no measurements, bake times or reading
                                           needed. Just dump, stir, like, follow, repeat.




                                                      It Knows Where
                                                          You Live
                                                                         By Kashmir Hill



                                           Every social media app is, essentially, a spy in your pocket. When it
                                           comes to data collection, TikTok is no worse than the others. The
                                           main difference, and the one that's driving the current
                                           conversation in Washington, is that TikTok is owned by a Chinese




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                                                                         By Kashmir Hill




                                           Every social media app is, essentially, a spy in your pocket. When it
                                           comes to data collection, TikTok is no worse than the others. The
                                           main difference, and the one that's driving the current
                                           conversation in Washington, is that TikTok is owned by a Chinese
                                           company.
                                           TikTok, like other apps, seeks a huge amount of information from
                                           you, and some pieces of it that can seem innocuous are quite
                                           revealing, including:


                                           Your I.P. address and location
                                           An LP. address is a unique identifier associated with your device or
                                           the network you use to get on the internet. TikTok can use your LP.
                                           address and location to determine the advertising you see, but it
                                           can also reveal other real-life associations. When people access a
                                           social network from the same LP. address, it reveals that they may
                                           know one another offline. ByteDance, which owns TikTok, used LP.
                                           address data collected from journalists using the app to try to
                                           identify company employees who were speaking to them.


                                           Your contacts
                                           Giving TikTok access to the hundreds (or thousands) of numbers
                                           and email addresses on your phone - an opt-in feature - lets
                                           them draw unexpected insights into your life, such as who your
                                           doctors are, your present and former colleagues, your one-night
                                           stands, and on and on. TikTok may then recommend you follow
                                           them as "people you may know" - and your account, in turn, will
                                           be suggested to them, so beware of sharing contacts if you're
                                           trying to stay anonymous. Even if you don't share your contacts,
                                           TikTok can look for the phone or email address you gave the
                                           company in other users' address books unless you go into the
                                           privacy settings and turn off "Suggest Your Account to Others."


                                           Your messages
                                           Unless your messages are end-to-end encrypted, which they are
                                           not on TikTok, they can be reviewed by the company storing them
                                           for you.


                                           Your viewing history
                                           Are you obsessed with steamy 1\vilight highlight reels or home
                                           repair videos? TikTok knows.




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                                           Your viewing history
                                           Are you obsessed with steamy Twilight highlight reels or home
                                           repair videos? TikTok knows.




                                                       It Teaches
                                                   22-Year-Olds

                                                                     By Anemona Hartocollis




                                           Shelley Polanco is 22, and a senior at Brandeis. As she faces life
                                           after college, she is not looking for practical advice about, say, jobs
                                           and careers. She yearns instead for a guidebook to what it feels like
                                           to be an adult, something to tell her about her future emotional life
                                           and satisfaction.
                                           And so, she likes following TikTok accounts that feature "an older
                                           woman of culture, kind of like this auntie figure who gets on TikTok
                                           and records 'things I wish I would have known in my 20s."'

                                           She's a fan of @itsrealllylola. "She's turning 25, and she starts to
                                           speak about all the things she's learned, the ways you maybe want
                                           to ignore people's judgments on you," Ms. Polanco says. "She's big
                                           on 'live your life and have fun."'




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                                           And so, she likes following TikTok accounts that feature "an older
                                           woman of culture, kind of like this auntie figure who gets on TikTok
                                           and records 'things I wish I would have known in my 20s!"

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                                           speak about all the things she's learned, the ways you maybe want
                                           to ignore people's judgments on you,'' Ms. Polanco says. "She's big
                                           on 'live your life and have fun."'




                                           She peers decades into her future with the help of Dr. Amanda
                                           Hanson, "#midlifemuse,'' who invites comments about life after 50
                                           from her TikTok followers. or Shera Seven. "She is this 40-year-old
                                           woman, I want to say, giving really brutal dating advice,'' Ms.
                                           Polanco said.
                                           Ms. Polanco was having trouble seeing more than three months
                                           out, and found support from a TikTok transformation coach named
                                           Shannon. "I searched, 'how to write goals,'" she said. "There was
                                           this lady walking you through this meditation to visualize your
                                           future self, and it was one of the only times I could see an older
                                           version of myself. It was so inspirational, I closed the app, got out a
                                           piece of paper and started writing."




                                                         It Helped You
                                                         Ask for a Raise
                                                                          By Mike Dang




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                                                                                                        #yourr/chbft




                                           In a video by the account @salarytransQarentstreet that's been
                                           viewed more than 23 million times, a lawyer candidly shares she
                                           makes $134,000 a year, a teacher says she earns $53,000 and a man
                                           who does chemical risk assessments for the federal government
                                           divulges he makes $60,000 a year. The point, according to Hannah
                                           Williams, the 27-year-old content creator behind the account, is to
                                           help people better understand what they could be earning. (Ms.
                                           Williams says she made more than Sl million in 2023 before
                                           exQenses through her videos and earns revenue from brand
                                           s.QonsorshiQS and ads).
                                           FinTok, as the money and personal finance community on the app
                                           is called, has fundamentally changed the way we accept advice
                                           from strangers - and altered how much ordinary people are
                                           willing to share about that most taboo subject: how much money
                                           they have.

                                           Sure, the app has allowed established finance gurus like Dave
                                           Ramsey and Suze Orman to expand their empires. But is has also
                                           given rise to people like Vivian Tu, a 30-year-old former Wall Street
                                           trader who runs the account @yourrichbff. Ms. Tu, who has 2.5
                                           million followers, offers practical advice on high-yield savings.
                                           accounts and retirement savings, but can also take widely
                                           discussed TikTok drama and show people what financial lessons
                                           they can learn from it.


                                           57% of Gen Z users like or leave a
                                           comment after watching a video on the
                                           platform.


                                           As with anything on TikTok, scrolling through FinTok videos
                                           requires a certain amount of skepticism. There are plenty of
                                           cryptocurrency creators on TikTok who like to focus on the
                                           potential gains rather than warning people of the risks. There are
                                           also crypto scams, including a rampant one using deepfake videos
                                           of Elon Musk. (Ads for crypto or financial services are banned
                                           from the platform, in part to help protect people from getting
                                           involved with high-risk investments. )
                                           But often, when scams or bad advice crop up, commenters have no




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                                           cryptocurrency creators on TikTok who like to focus on the
                                           potential gains rather than warning people of the risks. There are
                                           also crypto scams, including a rampant one using deepfake videos
                                           of Elon Musk. (Ads for crypto or financial services are banned
                                           from the platform, in part to help protect people from getting
                                           involved with high-risk investments. )

                                           But often, when scams or bad advice crop up, commenters have no
                                           problem offering corrections. When one creator posted a video
                                           about how to get a high credit limit using dubious methods, her
                                           comment section quickly filled up with users accusing her of
                                           committing fraud. The video was soon deleted.




                                                                     It Tilted
                                                             Your Screen
                                                                       By Ashwin Seshagiri




                                           TikTok didn't invent vertically oriented videos. But it has been very
                                           influential in getting people to watch their screens upright instead
                                           of sideways. It's a phenomenon that is sticking elsewhere, with
                                           Apple, a professional Spanish soccer league and major news
                                           publishers all producing vertical videos. Even The New York Times
                                           is on board.




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                                   ----    TikTok didn't invent vertically oriented videos. But it has been very
                                           influential in getting people to watch their screens upright instead
                                                                                                                 --
                                           of sideways. It's a phenomenon that is sticking elsewhere, with
                                           Apple, a professional Spanish soccer league and major news
                                           publishers all producing vertical videos. Even The New York Times
                                           is on board.




                                           Design and development by M ichael Beswetherick

                                           Editing by Noreen Malone, Ashwin Seshagiri, Matt Ruby and Sharon O'Neal

                                           Additional production by Brent Murray, Amanda Cordero and Joshua Shao


                                                                             READ 272 COMMENTS



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                                           The Rise of TikTok
                                           News and Analysis

                                             TikTok said that it was introducing new measures to limit the spread of videos
                                             from state-affiliated media accounts, including Russian and Chinese outlets, as
                                             the company deflects criticism that ii could be used as a propaganda tool in a
                                             major election year.

                                             An internal analysis found nearly twice as many pro-Trump posts as pro- Biden
                                             ones on TikTok since November, a sign of the right's use of a liberal-
                                             friendl~ platform.

                                             In an attempt to rein in the amount of weight loss posts, TikTok said it will work to
                                             remove content about drugs like Ozempic, extended fasting and more from the
                                             "For You" feed .


                                           Read More

                                             A food editor documents the high, the low and the mid from a week's worth of
                                             influencer restaurant suggestions on TikTok.

                                             At a time of heightened confusion and legal battles over access t o abortion,
                                             women are turning to the social media platform to talk about their abortions and
                                             look for answers.

                                             Has there ever been an app more American seeming than TikTok, with its messy
                                             democratic creativity, exhibitionism, utter lack of limits and vast variety of
                                             hustlers? Here's how the platform has changed America.




     More In Media                                                                                                               Trending in The Times


                                                                                                                                 Who Is George Norcross?

                                                                                                                                 Have We Reached Peak Baby Name?




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             -TikTok Extends Video Length Limit to 10 Minutes
             The ever-expanding social media platform is hoping to achieve a healthy balance between short
             and long-form content.


                       Written by        Published on
                       Aaron DraP.:kln   El March 2 , 2022




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             Video-focused social media site TikTok has extended its video length maximum to 10 minutes,
             more than tripling the previous limit of j ust three.



             TikTok is fast becoming one of the most profitable places for social media managers to
             implement digita l marketing strategies, wit h one billion active users now using the platform.



             Getting the video lengt h right is crucial for apps like TikTok, who have to balance reta ining their
             current userbase who like short-form content with the need to expand to other demographics.



             -
             TikTok Expands its Video Length...Again


             The recent move to 10 minute-long videos isn't the first time that TikTok has upped its video
             length. Before t his recent change, the current maximum was three minutes, which itself was an
             advance on 60 seconds. The original limit on a TikTok video was 15 seconds.




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             The recent move to 10 minute-long videos isn't the first time that TikTok has upped its video
             length. Before this recent change, the current maximum was three minutes, which itself was an
             advance on 60 seconds. The original limit on a TikTok video was 15 seconds.



             This seems to f it into line with how short-form video apps generally mature. Apps like Vine
             initially started with 6- second video limit s before ext ending them to 140 seconds before Twitter
             (which opened Vine) killed the App off to focus on its own video content.




             r .We're excited to start rolling out the ability to upload videos that
                 are up to 10 minutes, which we hope would un leash even more
                 creative possibilities for our creators around the world" - TikTok
                 Spokesperson.



             Explaining the decision, TikTok said it was "always thinking about new ways to bring value to our
             community and enrich the TikTok experience· and wanted to again give users ·more time to
             create and be entertained on TikTok."



             -
             Why is TikTok Upping its Video Length Limit?

             Like any other social media platform, TikTok is constantly t rying to attract new users.



             Longer videos have the potential to attract an older audience to the platform and could increase
             the amount of time people spend actually watching videos on the app rather than searching for
             'Part 2s' of videos that are longer t han three minutes.



             This move may also help TikTok attract creators that excel in making long-form content on sites
             like YouTube, and in turn, bring more users to the platform.



             Many YouTube commentators, lifestyle vloggers, and other content creators that have garnered
             large fanbases through the ir long-form video content already publish TikToks, but their main
             focus is sti ll channels on platforms known for hosting lengthier videos.



             Another obvious reason for the change is t he fluctuation of short-form video functions in apps
             known for their long-form [or at least not short form) content. such as lnstagram Reels and
             You Tube Shorts.



             -
             Is TikTok a Good Place to Market my Business?

             The stratospheric rise of TikTok, which was f irst launched in 2016 - as well as the fact advertising
             on the platform is a lot cheaper than the likes of Facebook - make it a fant astic place to raise
             brand awareness and advertise products or services.



             The social media management strategies usually involve a cross-platform approach with the




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             brand awareness and advertise products or services.



             The social media management strategies usually involve a cross-platform approach with the
             content being made for and posted on a variety of different social media channels.



             The ease at which you can achieve high engagement on TikTok, however, is currently unrivaled in
             the current social media landscape, which explains why so many social media management
             tools now offer support for the platform. Overall, TikTok is much more trend-driven than
             Facebook or Twitter, for instance, it's got built-in editing tools t hat other sites don't have and a
             particularly good algorithm for promoting truly engaging content.



             Now, with videos allowed to be up to 10 minutes long, there's even more scope for inventive and
             original ways to advertise products and services on the plat form.




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                  Written by:


                               Aaron Drapkin
                               Writer

                  Aaron Drapkin is Tech.co's Content Manager. He has been researching and writing about technology, politics, and
                 society in print and online publications since graduating with a Philosophy degree from the University of Bristol six
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                 Republic speaking on various privacy and cybersecurity issues, and has articles published in Wired, Vice, Metro,
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               Feature Is Making Its                             Closer After House                                Premium and Can You                                   Future TikTok Ban: Tips,
               Users Want To Quit                                Passes Crucial Bill                               Get It Free?                                         Tricks, and Advice
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                            TikTok is testing the ability for users to upload 15-minute
                                                                                                                        Learn More
                            videos, the company confirmed to TechCrunch on Monday.
                            The social media giant said the new upload limit is being
                                                                                                                                               fl>
                            tested in select regions with a limited group of users, but
                                                                                                                     @ Kustomer
                            declined to share specifics. The new option increases the
                            video upload limit on the app from 1 0 minutes to 15                           Cut c osts byf m
                            minutes.
                                                                                                         and improve cu stomer
                                                                                                            service by 1§1
                            The change was first noted by social med ia consultant Matt
                            Navarra , who posted a screenshot of a message shown to
                            users who have access to the new option. According to the
                            screenshot, users can upload longer videos to the p latform
                            from both the TikTok app and on desktop.
                                                                                                         Boost ex with Al
                            TikTok initially gained fame for being the most popular short-
                                                                                                         Automation
                            form v ideo platform, but has slowly been embracing long-
                                                                                                         Optimize support volume, act early.




Document title: TikTok is testing 15-minute uploads with select users | TechCrunch
Capture URL: https://techcrunch.com/2023/10/23/tiktok-testing-15-minute-uploads/
Capture timestamp (UTC): Mon, 17 Jun 2024 19:04:11 GMT                                                                                   Page 1 of 4

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                            Navarra, who posted a screenshot of a message shown to
    Tl:                                                                                                         II
                                                                                                                a
                            users who have access to the new option. According to the
    Login                  screenshot, users can upload longer videos to the platform

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                            from both the TikTok app and on desktop.
                                                                                                                El     Boost ex with Al
    Startups               TikTok initially gained fame for being the most popular short-                       II
    Venture                 form v ideo platform, but has slowly been embracing long-                           a      Automation

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    Apple                                                                                                              Optimize support volume, act early.
                            form content. The company expanded its maximum video
                                                                                                                       Provide help before it's needed. Boost
    Security                length to 10 m inutes, up from three minutes, back in                                      ex.
    Al                      February 2022. Before that, the limit was 60 seconds after
                                                                                                                       ®     Kustomer
    Apps                    initially expanding from 15 seconds.
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    Startup Battlefield    The expanded video length will give creators even more                                                   Learn More

    More                   time and flexibility when sharing things like cooking recipes,
                            beauty tutorials, education content and comedy sketches.
                           currently, if a v ideo is longer than 10 minutes, creators wi ll
                           d irect viewers to a "Part 2" video . With this expanded time
                            limit, creators may no longer have to create an entire video
                           series when sharing content.

                           The change puts TikTok in even more direct competition with
                            YouTube. The move indicates that TikTok is looking to attract
                            longer-form video creators who normal ly post content on
                            YouTube. In the past, TikTok was seen as the platform for
                           short-form content, while YouTube was seen as the home for
                            long-form content. The past few years have blurred the lines
                            between the two companies as TikTok embraces longer
                            videos and YouTube adopts shorter videos with Shorts.

                            It's worth noting that TikTok has also inched further into
                            YouTube's territory with a horizontal f ull screen mode that' s
                            being tested in select regions.

                            It's likely that not everyone will welcome the new video time
                            limit. TikTok is known for short and entertaining videos, so
                           that's probably what people go to the platform for, not
                            necessarily long videos. Not everyone has an appetite for
                            long videos, which TikTok seems to be aware of given its
                            recent launch of a feature that lets you fast-forward videos
                            by holding down the right-side of a video.



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                               TikTok scores sizable Disney deal including
                               a content hub and publisher partnership
                               TikTok has landed Disney as its latest big-name publishing partner for its
                               premium ad product, Pulse Premiere, announced earlier this year, The
                               company will join other large publishers, including NBCU, Conde Nast,
                               DotDash Meredith, Buzzfeed and more, which offer brand-safe videos
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                              TikTok ads will now incl ude Al avatars of creators and stock actors


                                               YouTube Is experimenting with Notes, a crowdsourced
                                               feature that lets users add context to videos


                                               TikTok tests 60-minute video uploads as It continues to
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                                               TikTok comes for Google as It quietly rolls out Image
                                               search capabilities In TikTok Shop




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                               premium ad product, Pulse Premiere, announced earlier this year. The
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                     EXHIBIT 7




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                     EXHIBIT 8




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